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 7

 8                                  UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10

11   CHARLES HEIMAN and MISTY               ) Case No. 8:17-cv-01395
     ALEXANDER, individually and on         )
12   behalf of all others similarly situated,
                                            )
                                            )
13   Plaintiffs,                            ) CLASS ACTION COMPLAINT
                                            )
14           v.                             )
                                            )
15                                          ) DEMAND FOR JURY TRIAL
     WELLS FARGO & COMPANY, a               )
16   Delaware Corporation; WELLS            )
     FARGO BANK, N.A., d/b/a Wells          )
17   Fargo Dealer Services, Inc., a South   )
     Dakota Corporation; BALBOA             )
18   INSURANCE COMPANY, a                   )
     California Corporation; NATIONAL )
19   GENERAL INSURANCE COMPANY )
     (individually and as successor-in-     )
20   interest to Balboa Insurance Company), )
     a North Carolina Corporation; DAWN )
21   MARTIN HARP; BILL KATAFIAS; )
     and DOES 1 through 10, inclusive,      )
22                                          )
                                            )
23
                               Defendants. )
                                            )
24                                          )
                                            )
25

26

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                                           CLASS ACTION COMPLAINT
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 1
           1.     Plaintiffs Charles Heiman and Misty Alexander (collectively “Plaintiffs”),
 2
     individually and on behalf of all others similarly situated, bring this class action against
 3
     Defendants Wells Fargo & Company (“Wells Fargo”), Wells Fargo Bank, N.A., doing
 4
     business as Wells Fargo Dealer Services, Inc. (“Wells Fargo Bank”), Balboa Insurance
 5
     Company (“Balboa”), National General Insurance Company, individually and as
 6
     successor-in-interest to Balboa (“National General”), Dawn Martin Harp (“Harp”), Bill
 7
     Katafias (“Katafias”), and John Does 1-10 (all collectively “Defendants”).
 8
           2.     Plaintiffs’ allegations are based upon personal knowledge as to their own acts
 9

10
     and upon information and belief as to all other matters alleged herein, including the

11
     investigation of counsel, publicly available information, news articles, press releases, and

12   additional analysis. Plaintiffs believe that substantial evidentiary support will exist for the
13   allegations set forth herein after a reasonable opportunity for discovery.
14   I.    NATURE OF THE ACTION
15         3.     After nearly a decade of deception, Defendants’ fraudulent scheme of duping
16   hundreds of thousands of auto loan customers into paying for unnecessary and unwanted
17   auto collateral protection insurance and additional fees and charges has finally come to
18   light. As a direct result of Defendants’ continuous scheme, consumers nationwide are still
19
     feeling the effects of being forced into paying for unnecessary auto insurance policies,
20
     incurring substantial unwarranted fees and charges, suffering from negative credit
21
     reporting and other delinquencies, and/or having their vehicles repossessed.
22
           4.     Plaintiffs bring this proposed class action on behalf of themselves and all
23
     other persons who had an automobile loan originated by Defendant Wells Fargo Bank,
24
     N.A. through its division, Wells Fargo Dealer Services and, in connection therewith, were
25
     charged for lender-placed or “force-placed” automobile insurance policies, called
26
     “collateral protection insurance” (“CPI”), provided by Balboa and/or National General on
27
     the secured personal property within the applicable statute of limitations (the “Class
28
     Period”).
     ______________________________________________________________________________________________
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                                         CLASS ACTION COMPLAINT
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 1
           5.     Lenders often require borrowers to purchase and agree to maintain insurance
 2
     coverage on automobiles purchased as a condition to funding automobile loans. Plaintiffs
 3
     were required to obtain and maintain such insurance as a condition of their automobile
 4
     loan from Wells Fargo Bank.
 5
           6.     In the event that borrowers fail to maintain insurance on their automobiles
 6
     while they still owe money to the lender, lenders, through agreements with insurers/service
 7
     providers, can choose to replace borrowers’ insurance policies with more expensive ones,
 8
     in the form of CPI.      Lenders charge the premium associated with such policies to
 9

10
     borrowers’ accounts, as well as attendant fees, adding to borrowers’ monthly payments.

11
     Many states require that borrowers be informed of the fact that they will be force-placed

12   prior to the lender purchasing such insurance for their vehicles.
13         7.     In order to ascertain which borrowers have automobile insurance policies that
14   have lapsed, lenders such as Wells Fargo Bank maintain agreements with service
15   providers, such as Balboa and/or its affiliates and National General, to track and monitor
16   whether their borrowers maintain the required insurance. If the borrowers’ voluntary
17   automobile insurance has lapsed, the service provider then mails any notices required by
18   law, and provides the CPI if necessary. When Balboa or National General provided CPI,
19
     Wells Fargo Bank would pay for the policy and then charge borrowers’ accounts for the
20
     policy as well as any related fees, raising the borrowers’ monthly payments.
21
           8.     Defendants acted together to exploit Wells Fargo Bank’s ability to force-place
22
     insurance to reap additional, unjustified profits in the form of premiums, commissions,
23
     fees and other financial benefits at the expense of borrowers who were charged for force-
24
     placed insurance but had not let their voluntary automobile insurance lapse and/or were
25
     not properly notified of the force-placed insurance as required under state law. See Wells
26
     Fargo Announces Plan to Remediate Customers For Auto Insurance Coverage (July 27,
27
     2017), attached hereto as Exhibit A.
28


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                                         CLASS ACTION COMPLAINT
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 1
           9.     However, Wells Fargo’s announced plans to refund millions to borrowers
 2
     does not cover those borrowers who paid premiums, fees, and other charges when Wells
 3
     Fargo and Wells Fargo Bank used Balboa and/or its affiliates as their insurance tracking
 4
     and CPI provider in the scheme. Even now, Wells Fargo has blamed its outside provider,
 5
     National General, for the wrongful placement of CPI, even though this scheme predates
 6
     National General’s involvement and was, in fact, originated and orchestrated by Wells
 7
     Fargo and Wells Fargo Bank.
 8
           10.    Defendants’ web of relationships, and the arrangements between them,
 9

10
     funneled unjust and unearned profits and/or other illicit benefits to the Defendants through

11
     their collusive activities. Each Defendant participated in the scheme with the knowledge

12   and collusion of the other participants as described in greater detail herein.
13         11.    In this action, Plaintiffs challenge Wells Fargo Bank’s practice of charging
14   borrowers for CPI from Balboa and/or National General even though the borrowers’
15   voluntary insurance had not lapsed. This unnecessary force-placement of insurance was
16   unauthorized by contract, unjustified, and unfairly imposed costs and undue burden on the
17   borrowers in violation of the law.
18         12.    Throughout the Class Period, Defendants have engaged individually and in
19
     concert with one another, in unlawful, abusive and unfair practices with respect to CPI,
20
     which practices included, among other things: (a) purchasing CPI and/or charging
21
     borrowers for CPI whose voluntary automobile insurance had not lapsed; (b) charging
22
     class members fees and interest related to the unlawfully purchased CPI; (c) receiving
23
     commissions and/or other things of value from providers of CPI; (d) forcing borrowers to
24
     pay for duplicative insurance coverage; (e) wrongfully reporting borrowers as delinquent
25
     and/or wrongly repossessing vehicles in connection with the scheme; (f) using the mail
26
     and wires to conduct a scheme to defraud Plaintiff and the Class by unlawful purchasing
27
     and charging borrowers for unnecessary CPI; (g) misrepresenting that Defendants were
28
     force-placing insurance on Plaintiffs’ and Class Members’ automobiles lawfully, but
     ______________________________________________________________________________________________
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                                          CLASS ACTION COMPLAINT
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 1
     instead, doing so as a means of generating illicit, unreasonable and unwarranted financial
 2
     benefits for each of the Defendants in violation of the Racketeer and Corrupt
 3
     Organizations Act (“RICO”), 18 U.S.C. § 1962(c); and (h) conspiring to take advantage of
 4
     their contractual authority to issue CPI to Plaintiffs and Class members pursuant to pre-
 5
     arranged agreements that return an undisclosed and improper financial benefit to each
 6
     Defendant in violation of RICO, 18 U.S.C. § 1962(d).
 7
             13.   Plaintiffs assert the following claims against Defendants: (a) claims for
 8
     violation of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(c),
 9

10
     as further described below; (b) claims for engaging in a conspiracy to defraud Plaintiffs

11
     and the Class in violation of RICO 18 U.S.C. § 1962(d); and (c) claims for violation of

12   California Business & Professions Code § 17200, et seq.
13           14.   Accordingly, Plaintiffs challenge Defendants’ unlawful conduct and seeks
14   statutory and compensatory damages.
15   II.     PARTIES
16           A.    Plaintiffs
17           15.   Plaintiff Charles Heiman (“Plaintiff Heiman”) resides in Hondo, Texas, and is
18   a citizen of Texas.
19
             16.   Plaintiff Heiman purchased a 2002 Chevrolet Silverado truck, financed with
20
     an executed loan agreement with Wells Fargo Bank. Since his purchase of the vehicle, he
21
     has at all times maintained comprehensive and collision coverage as per the terms of the
22
     loan.
23
             17.   In 2008, Plaintiff Heiman received a notice purportedly from Wells Fargo
24
     Bank indicating that he did not have the proper insurance on his truck and that a CPI
25
     policy would be force-placed on his vehicle if he did not provide proof of coverage.
26
     Plaintiff Heiman immediately contacted his insurance agent, who then contacted Wells
27
     Fargo Bank and Balboa Insurance Company to provide proof of coverage.
28


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                                         CLASS ACTION COMPLAINT
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 1
           18.    Wells Fargo Bank and Balboa Insurance Company force-placed a CPI policy
 2
     on the truck despite having proof that Plaintiff Heiman maintained adequate insurance
 3
     coverage. Plaintiff Heiman was forced to pay for the CPI and the attendant fees, including
 4
     late fees on the auto loan account.
 5
           19.    While Plaintiff Heiman disputed the placement of the CPI policy and its
 6
     charges to his auto loan account, Wells Fargo Bank repossessed the truck and reported
 7
     Plaintiff to the various credit agencies.
 8
           20.    Subsequently, Wells Fargo Bank and Balboa Insurance Company admitted
 9

10
     that the CPI policy had been placed in error, removed the policy, and refunded the

11
     premium to Plaintiff Heiman’s account. However, they did not immediately return his

12   truck to his possession, claiming they would need sixty days to do so.
13         21.    When Plaintiff Heiman went to the yard in which Wells Fargo Bank was
14   keeping his truck, he found that all of his personal possessions from inside the vehicle had
15   been removed and that roofing materials, including buckets of tar, had been placed into the
16   truck. Additionally, Plaintiff Heiman observed dings, scratches and other damage to the
17   truck that had not been on the vehicle previously.
18         22.    While fighting with Wells Fargo Bank for the return of his vehicle, Plaintiff
19
     Heiman was forced to purchase a second truck, in order to maintain his job. In addition to
20
     sales taxes, transaction costs and/or other costs and inconveniences Plaintiff Heiman was
21
     forced to bear, because Wells Fargo Bank had reported the repossession to the credit
22
     bureaus, Plaintiff Heiman ultimately paid more for this second vehicle that he otherwise
23
     would have without the erroneous information on his credit report.
24
           23.    Wells Fargo Bank eventually allowed Plaintiff Heiman to pick up his now
25
     damaged truck from their yard, refusing to deliver the truck to him. However, Wells Fargo
26
     Bank refused to pay for the damage to his vehicle.
27
           24.    As a result of the incorrect information on his credit report, Plaintiff Heiman
28
     has been harmed financially, including significant detrimental effects on his ability to
     ______________________________________________________________________________________________
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 1
     finance the new purchase of a car. Throughout his ordeal with Wells Fargo Bank and
 2
     Balboa Insurance Company, both Defendants denied any wrongdoing.
 3
           25.    Plaintiff Misty Alexander (“Plaintiff Alexander”) resides in Saginaw, Texas
 4
     and is a citizen of Texas.
 5
           26.    Plaintiff Alexander executed a loan with Wells Fargo Bank in 2013 for her
 6
     Land Rover vehicle.          Since her purchase of the vehicle, she has maintained both
 7
     comprehensive and collision coverage of the car via Allstate Insurance.
 8
           27.    Despite the fact that at all times she maintained insurance on her vehicle,
 9

10
     Plaintiff Alexander was charged repeatedly for CPI since 2013. Records of such charges

11
     are in Defendants’ possession. The CPI charges and additional fees in connection with

12   such charges were debited automatically from her Wells Fargo checking account.
13         28.    Plaintiff Alexander repeatedly informed Wells Fargo Bank and National
14   General of her voluntary insurance policy and forwarded the proof of that insurance after
15   each instance of force-placement. Wells Fargo Bank subsequently failed to fully refund
16   the charges for CPI, including the subsequent late fees they charged to her account.
17         29.    On information and belief, Wells Fargo Bank also reported Plaintiff
18   Alexander to credit bureaus for purported delinquencies related to her supposed failure to
19
     procure insurance and/or timely pay all charges wrongly assessed.
20
           B.     Defendants
21
           30.    Defendant Wells Fargo & Company is a Delaware corporation and a bank
22
     holding company with its principal place of business located in San Francisco, California.
23
     Upon information and belief, Wells Fargo participated in the conduct alleged herein from
24
     its offices in San Francisco, including the decisions (and/or ratification of decisions) to
25
     enter into agreements with National General to wrongfully force-placed CPI on hundreds
26
     of thousands of borrowers throughout the United States in order to generate revenue via
27
     commission sharing, unearned fees assessed to borrower accounts, reselling wrongfully
28
     repossessed vehicles and/or other financial benefits.
     ______________________________________________________________________________________________
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 1
           31.    Defendant Wells Fargo Bank, N.A., through its division Wells Fargo Dealer
 2
     Services, is a national association bank chartered in South Dakota with its principal place
 3
     of business in Irvine, California. The members of Wells Fargo Bank’s Board of Directors
 4
     also serve as Directors of Wells Fargo. Wells Fargo Bank directly owns the loans which
 5
     are secured by the Class Members’ automobiles, which are located throughout the United
 6
     States. Wells Fargo Bank is the primary entity used by Wells Fargo for the origination and
 7
     servicing of automobile loans. Upon information and belief, executives within Wells
 8
     Fargo Bank at its Irvine headquarters implemented and oversaw operations of the CPI
 9

10
     scheme in order to benefit financially, including through commissions on the wrongfully

11
     placed CPI and/or through additional fees assessed to the accounts of those same

12   borrowers, along with other benefits.
13         32.    Defendant Balboa Insurance Company was a California corporation
14   headquartered in Irvine, California. When Wells Fargo Bank initiated its CPI program,
15   Balboa and/or its affiliates were the outside service providers for all aspects of the
16   program, including insurance tracking, borrower notification and policy placement. As a
17   result, Balboa provided CPI policies on vehicles located throughout the United States,
18   including California. Balboa’s participation in the scheme was approved by and managed
19
     by executives located in Irvine, California, and all CPI policies were issued from Irvine,
20
     California. At the time of their original agreement with Wells Fargo Bank, Balboa was a
21
     wholly-owned subsidiary of Bank of America. In June 2011, Balboa was sold to QBE
22
     Insurance Group Limited and its operations were taken over by QBE Insurance
23
     Corporation and its affiliates. In October 2015, National General Holdings Corp. acquired
24
     the lender-placed insurance business of QBE Insurance Group Limited, including the CPI
25
     business, which it subsequently branded National General Lender Services. Upon
26
     information and belief, Balboa participated in the wrongful conduct alleged herein in order
27
     to benefit financially and each of its successors-in-interest continued to deny any
28
     wrongdoing for its previous actions.
     ______________________________________________________________________________________________
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                                         CLASS ACTION COMPLAINT
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 1
           33.    Defendant National General Insurance Company is a North Carolina
 2
     corporation headquartered in Winston-Salem, North Carolina. National General
 3
     administers the CPI portion of the National General Lender Services business on behalf of
 4
     its parent corporation, National General Holdings Corp.          It also provided both the
 5
     insurance tracking services and the CPI policies on automobiles located through the United
 6
     States, including California, for Wells Fargo Bank from January 2012 until September
 7
     2016. Upon information and belief, National General continues to deny that either Balboa
 8
     or National General acted improperly. Upon information and belief, National General
 9

10
     participated in the wrongful conduct alleged herein in order to benefit financially.

11
           34.    Defendant Dawn Martin Harp is the former president of Wells Fargo Dealer

12   Services, a position she held for six years prior to her retirement in April 2017. Prior to
13   becoming president of Dealer Services, she served as the chief operating officer since at
14   least 2008 with particular concentration in the Indirect Auto Finance unit.             Upon
15   information and belief, Harp also served as an executive vice president for Wells Fargo.
16   Harp resides in Dana Point, California. Upon information and belief, in her position with
17   Wells Fargo Bank, Ms. Harp orchestrated and/or oversaw and helped to effectuate the
18   scheme complained of herein.
19
           35.    Defendant Bill Katafias is the former executive vice president and head of the
20
     Indirect Auto Finance team at Wells Fargo Dealer Services. In this role, Katafias was
21
     involved in retail production oversight of regional dealer partners, the centralized direct
22
     lending operation, operational risk management of indirect sales, and recreational finance.
23
     He left his role at Wells Fargo Bank in February 2017, where he had been since 2008. At
24
     all times, he was involved in overseeing the day-to-day operations of the CPI scheme for
25
     Wells Fargo Dealer Services. Katafias resides in Ladera Ranch, California.              Upon
26
     information and belief, in his position with Wells Fargo Bank, Mr. Katafias helped to
27
     implement and/or effectuate the scheme complained of herein.
28


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 1
      III.   JURISDICTION AND VENUE
 2
             36.   This Court has jurisdiction over the subject matter of this action pursuant to
 3
      18 U.S.C. §§ 1961, 1962, and 1964. This Court has original diversity jurisdiction pursuant
 4
      to the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2), because this lawsuit has been
 5
      brought as a class action on behalf of a proposed Class including hundreds of thousands of
 6
      members, the aggregate claims of the putative Class members exceed $5 million exclusive
 7
      of interest and costs, and one or more of the members of the putative Class are citizens of a
 8
      different state than each of the Defendants.
 9

10
             37.   In addition, this Court has diversity jurisdiction over Plaintiffs’ state law

11
      claims pursuant to 28 U.S.C. § 1332(a). The matter in controversy is greater than $75,000

12    and this matter is between citizens of different states. This Court also has supplemental
13    jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367.
14           38.   Venue is proper in this district under 28 U.S.C. § 1391(b) because Defendants
15    reside and/or regularly conduct business in this district and/or a substantial part of the
16    events giving rise to the claims occurred in this district.
17    IV.    FACTUAL ALLEGATIONS
18           A.    Wells Fargo and Wells Fargo Bank Collusively Preyed on Borrowers in
                   Pursuit of Unearned Profits
19

20
             39.   On July 27, 2017, Wells Fargo announced that it would compensate

21
      approximately 570,000 customers who were wrongfully charged for CPI. According to
22    the announcement, a review undertaken in July 2016 revealed that approximately 490,000
23    borrowers had CPI placed when they already had adequate voluntary insurance,
24    approximately 60,000 did not receive the disclosures required by law prior to the
25    placement of CPI, and approximately 20,000 suffered a car repossession after the wrongful
26    CPI charges contributed to a default on their car loan. Wells Fargo said it would pay
27    approximately $80 million to these borrowers, in cash and account adjustments, to cover
28


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                                           CLASS ACTION COMPLAINT
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 1
      the costs of the premiums, as well as some fees and, for those who suffered repossession,
 2
      the partial value of the car. See Exhibit A.
 3
            40.    This announcement came following an explosive New York Times article
 4
      uncovering an internal investigation that revealed 800,000 borrowers were affected by the
 5
      wrongful placement of CPI.       See Wells Fargo Forced Unwanted Auto Insurance on
 6
      Borrowers, July 27, 2017, attached hereto as Exhibit B.
 7
            41.    Wells Fargo attempted to avoid responsibility, placing the blame for the
 8
      mistaken force-placements on its outside vendor, National General, in its press release, and
 9

10
      praising itself for acting quickly to investigate customer complaints from July 2016. Yet

11
      the public face-saving was too little too late for Wells Fargo, as Wells Fargo Bank has

12    been the subject of numerous complaints about their CPI practices for years to the
13    Consumer Financial Protection Bureau (“CFPB”). Id.
14          42.    Indeed, Wells Fargo and Wells Fargo Bank were investigated and sued by the
15    Department of Justice (“DOJ”) on behalf of servicemembers whose cars had been
16    wrongfully repossessed in violation of the Servicemembers Civil Relief Act (“SCRA”).
17    Although Wells Fargo claims it became of aware of issues at Wells Fargo Bank and
18    National General in July 2016, Wells Fargo Bank, had been investigated and sued by the
19
      DOJ for at least a year prior for its conduct related to car loan delinquencies and
20
      repossessions. See Justice Department Reaches $4 Million Settlement with Wells Fargo
21
      Dealer Services for Illegally Repossessing Service members’ Cars, September 29, 2016,
22
      attached hereto as Exhibit C. See also Consent Order For a Civil Money Penalty In the
23
      Matter of Wells Fargo Bank, N.A. dated September 29, 2016, attached hereto as Exhibit D.
24
            43.    The DOJ began an investigation in March 2015 and found that Wells Fargo
25
      Bank had been engaging in unlawful conduct with respect to service members’ vehicles
26
      since at least 2008. Wells Fargo Bank agreed to pay $20 million in civil penalties, with an
27
      additional $4.1 million to the wronged servicemembers, as a result of the investigation and
28
      to change its CPI practices, particularly with regard to sending out accurate notifications to
      ______________________________________________________________________________________________
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 1
      servicemembers and verifying that the information they presented to courts when pursuing
 2
      delinquent payments and/or repossessions was in fact accurate. The Consent Order was
 3
      signed by the members of the Board of Directors for Wells Fargo Bank, who also served
 4
      as members of the Board of the Directors for Wells Fargo. See id.
 5
            44.    This was simply the latest scandal to hit Wells Fargo and its subsidiaries,
 6
      following the disclosure last year that branch workers had been directed to open millions
 7
      of unauthorized credit card and bank accounts for customers in order to meet internal
 8
      company goals. As a result, Wells Fargo Bank was fined $185 million for that scandal just
 9

10
      last year and its CEO, who was also the CEO of Wells Fargo, John Stumpf, was forced to

11
      resign.

12          45.    Other previous scandals to hit Wells Fargo and its subsidiary in recent years
13    include improper mortgage charges, some related to the force-placed insurance on homes,
14    the improper targeting of immigrants and older customers with memory problems in
15    opening new accounts, and filing false documentation in courts in mortgage disputes with
16    borrowers.    There have been further reports that Wells Fargo Bank also opened
17    unauthorized “phantom” accounts in the name of brokerage and small business clients.
18          46.    Prudential Financial Inc. also cut ties with Wells Fargo Bank earlier this year,
19
      after being sued by former executives in its investigation division for wrongful termination
20
      following their discovery that Wells Fargo Bank employees had been signing up bank
21
      customers for Prudential MyTerm life insurance policies without their knowledge or
22
      permission. The bank employees, who were not licensed to sell insurance, were supposed
23
      to direct interested customers to special kiosks located in the banks or to Prudential’s
24
      online portal. Instead, they opened accounts in the customers’ name and withdrew the
25
      premiums directly from their bank accounts, sometimes canceling the policy after a month
26
      or two.
27
            47.    In the summer of 2016, concurrent with the DOJ’s ongoing investigation into
28
      Wells Fargo Bank’s CPI policies with respect to servicemembers, Wells Fargo hired
      ______________________________________________________________________________________________
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 1
      outside consultant Oliver Wyman to investigate the conduct of Wells Fargo Bank and its
 2
      outside vendor, National General. Despite the scope of the DOJ’s investigation and
 3
      findings, going all the way back to 2008, Wells Fargo directed Oliver Wyman only to
 4
      review conduct and any resultant placement of insurance starting in January 2012.
 5
            48.    Upon information and belief, despite the ongoing investigation, Wells Fargo
 6
      Bank ended its CPI program entirely in September 2016, at the direction of Wells Fargo.
 7
      Only two service providers were involved during the entirety of the program: Balboa, from
 8
      the program’s inception in 2006 through 2011, and National General, from 2012 until the
 9

10
      program’s end in 2016.

11
            49.    Oliver Wyman completed its investigative report in February 2017.

12    However, Wells Fargo and Wells Fargo Bank stayed silent, failing to announce the results
13    of their own investigation until July 27, 2017, only after the publication of the New York
14    Times report. See Wells Fargo Planned to Eventually Tell Public about Auto Insurance
15    Programs – Executive, July 28, 2017, attached hereto as Exhibit E. Wells Fargo also
16    blamed Harp and Katafias, among others, for the failures of Wells Fargo Bank. Id. No
17    mention was made about the existence of the same problems before National General’s
18    involvement, despite the DOJ’s findings of malfeasance going as far back as 2008 when
19
      Balboa was the service provider.
20
            50.    In a similar vein of understating the expanse of the wrongdoing, despite the
21
      fact that it had commissioned the report, Wells Fargo disagreed with the conclusions.
22
      While Oliver Wyman found that over 800,000 customers had been wrongfully charged for
23
      CPI, and in some instances were still paying for it, Wells Fargo said that only 570,000
24
      borrowers were affected. The Oliver Wyman report found that 274,000 borrowers had
25
      been pushed into delinquency due to the unlawful practice, that 100,000 had not received
26
      proper notifications prior to force-placement, and that almost 25,000 borrowers suffered
27
      wrongful vehicle repossessions. In its own self-serving press release, Wells Fargo tried to
28


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 1
      downplay the statistics, stating that only 60,000 failed to receive proper notice and only
 2
      20,000 suffered wrongful repossession. See Wells Fargo Forced.
 3
            51.    Neither the numbers of affected borrowers from the Oliver Wyman report nor
 4
      Wells Fargo’s alternative numbers include those wrongfully force-placed when Balboa
 5
      was the service provider.
 6
            52.    Because Wells Fargo disagrees with its own report, but has yet to make any
 7
      supporting information publicly available, it is unknown at this time how many borrowers
 8
      were actually affected by the unlawful placement of CPI or whether all damaged
 9

10
      borrowers are being compensated by its announced repayment plan.

11
            53.    For its part, National General denies any wrongdoing. A spokesperson for the

12    insurance company, Christine Worley, Director of Investor Relations at National General
13    Holding Corp., said that it “feels confident with its compliance in this highly regulated
14    industry.   We have always refunded premiums directly to our financial institutions
15    customers in a timely manner and provided all necessary notifications in compliance with
16    law and industry practice.”     See Wells Fargo to Refund $80 Million to Auto-Loan
17    Customers for Improper Insurance Practices, July 28, 2017.
18          54.    This latest misconduct has analysts concerned about the lack of controls on
19
      the conduct of Wells Fargo Bank by itself and its parent, Wells Fargo. “The steady drip of
20
      revelations is concerning as it makes quantifying and qualifying the extent of the internal
21
      control failures difficult,” said Isaac Boltansky, an analyst at Compass Point Research &
22
      Trading. Wells Fargo May Have Charged 500,000 Clients for Unwanted Insurance, July
23
      28, 2017, attached hereto as Exhibit F.          Another analyst from Atlantic Equities,
24
      Christopher Wheeler remarked, “What has been shown is that the bank was run for
25
      superior revenue growth, and the controls around managing that were clearly insufficient.”
26
      Id.
27
            55.    In fact, in January 2017, Wells Fargo Bank praised the efforts of Harp when it
28
      announced her retirement from Wells Fargo Dealer Services, effective April 2017, citing
      ______________________________________________________________________________________________
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 1
      the growth of the division and its revenues under her management.          See Dawn Martin
 2
      Harp to Retire as President of Wells Fargo Dealer Services, January 11, 2017, attached
 3
      hereto as Exhibit G.
 4
            56.    The continuing revelations of illicit conduct throughout multiple divisions of
 5
      Wells Fargo Bank shows a continuing, knowing pattern of behavior to pursue unearned,
 6
      illicit profits from its customers. The wrongful placement of hundreds of thousands of CPI
 7
      policies was simply another scheme by Wells Fargo and Wells Fargo Bank to charge
 8
      wrongfully its borrowers and acquire unearned profits. Wells Fargo and Wells Fargo Bank
 9

10
      were determined to continue this scheme and so only contracted with service providers

11
      who were willing to participate, such as Balboa and National General.

12          57.    Typically, when lenders provide financing to borrowers for the purchase of an
13    automobile, they frequently require that the borrower secure comprehensive and collision
14    coverage for that vehicle within the terms of the loan, so that the lender’s interest is
15    protected in case of accidents or other damage to the vehicle.
16          58.    In order to determine which borrowers are maintaining their required
17    coverage, lenders employ third party service providers to track the insurance of cars within
18    their lending portfolios. Often, these vendors also provide an insurance policy for the
19
      lenders to purchase if a vehicle is found to be uninsured. The lender then passes on the
20
      charge to the borrowers, adding fees and premium charges to the loan balance and/or the
21
      monthly payment due under the terms of the loan agreement.
22
            59.    The purchasing of a policy for a borrower’s vehicle under the terms of the
23
      loan agreement is called forced-placement and is referred to as CPI within the industry.
24
            60.    Prior to making a forced-placement, service providers must send notifications
25
      to the borrower that they are required to maintain insurance on their vehicle by the terms
26
      of their loan and, if they fail to secure their own coverage, the lender will authorize the
27
      service provider to purchase a policy for them, often at higher prices than the borrower
28
      would be able to secure on the voluntary insurance market. Some states have more
      ______________________________________________________________________________________________
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 1
      fulsome notification requirements than others, notably Arkansas, Michigan, Mississippi,
 2
      Tennessee and Washington.
 3
              61.   The CPI industry is mostly concentrated in credit unions and smaller banking
 4
      institutions, whose auto loan portfolios represent a more significant percentage of their
 5
      overall business. Wells Fargo Bank is one of the few of the largest American banks to
 6
      require CPI terms in its loans. Its CPI program began in 2006 and ended in September
 7
      2016.
 8
              62.   Upon information and belief, in 2006, Wells Fargo Bank entered into an
 9

10
      agreement with Balboa, at the behest of its parent corporation, Wells Fargo. As a result,

11
      Balboa and/or its affiliates provided insurance tracking, notification to borrowers, and CPI

12    policies on behalf of Wells Fargo Bank from 2006 until the end of 2011.
13            63.   Upon information and belief, Balboa was chosen as the automobile insurance
14    tracking and CPI provider because of their willingness to share commissions on the CPI
15    sales, as well as provide other things of value, with Wells Fargo Bank.
16            64.   Upon information and belief, following the sale of Balboa to QBE Insurance
17    Company, Wells Fargo Bank entered an agreement with National General, at the behest of
18    its parent corporation, Wells Fargo. National General would provide insurance tracking
19
      services for Wells Fargo Bank and force-place a policy on any uninsured vehicle that it
20
      found, following notice to the borrower. This agreement was effective January 1, 2012.
21
              65.   Upon information and belief, National General was chosen as the automobile
22
      insurance tracking and CPI provider because of their willingness to share commissions on
23
      the CPI sales, as well as provide other things of value, with Wells Fargo Bank.
24
              66.   Under the original terms of the deal, Wells Fargo Bank would pay National
25
      General for any policies it force-placed, including fees and commissions, as Balboa had
26
      done before. Wells Fargo Bank would then receive a portion of the commission back from
27
      National General, as part of a revenue-sharing arrangement. In turn, Wells Fargo Bank
28
      would charge the borrower’s loan account, which sometimes would be linked to a Wells
      ______________________________________________________________________________________________
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 1
      Fargo bank account for automatic payments. The original scheme continued, simply with
 2
      a new service provider.
 3
            67.    According to the Oliver Wyman report, Wells Fargo Bank stopped taking
 4
      commissions in February 2013. However, it continued to assess fees and other charges on
 5
      borrowers’ loan accounts in the event that a CPI policy was placed.
 6
            68.    Upon information and belief, in order to maximize revenue under the terms of
 7
      their arrangement, National General instituted and continued to use a tracking system that
 8
      failed to find coverage for automobiles in Wells Fargo Bank’s loan portfolio at a higher
 9

10
      rate than actually existed within the portfolio.      It also failed to ensure that proper

11
      notification to borrowers about their lack of insurance was issued prior to the forced-

12    placement of the CPI policies.
13          69.    Upon information and belief, despite the fact that the nationwide rate of car
14    owners who fail to maintain insurance on their vehicle is about 14%, throughout the Class
15    Period, National General found a significantly higher rate among Wells Fargo Bank’s
16    portfolio, as much as 50% higher.
17          70.    The artificially high rate of coverage lapses combined with National
18    General’s purposefully designed notification system which failed to warn borrowers of the
19
      impending force-placement of CPI, ensured that National General would be able to sell
20
      hundreds of thousands more policies and recoup millions in unearned profits from the
21
      fraudulent policy premiums and commissions.
22
            71.    Furthermore, National General instituted policies and procedures, both formal
23
      and informal, that both made it more difficult for borrowers to prove they had voluntary
24
      coverage and intentionally slowed down the process of CPI removal. The effect of such
25
      policies was to ensure that Wells Fargo Bank and National General would be able to
26
      charge additional fees to Class members, even if the CPI premium itself was eventually
27
      refunded.
28


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 1
            72.    Wells Fargo Bank, meanwhile, reaped the benefits, enjoying the added
 2
      revenue stream of commissions from the CPI, as well as added fees to borrowers’
 3
      accounts, and other benefits. Some of the other financial benefits to Wells Fargo Bank
 4
      included fees from overdrawn accounts, for those borrowers’ whose auto loan payments
 5
      were automatically deducted from their checking or savings accounts, as well as extra fees
 6
      and charges assessed to customers after reporting their delinquency on credit reports prior
 7
      to selling them other products.
 8
            73.    Wells Fargo Bank’s role in this scheme was managed by Harp, as Chief
 9

10
      Operating Officer and then President of Wells Fargo Dealer Services, and by Katafias, the

11
      head of Indirect Auto Lending at Wells Fargo Dealer Services, throughout the Class

12    Period. Both former executives were identified as being responsible for oversight of
13    National General by Franklin Codel, Head of Consumer Lending for Wells Fargo.
14          74.    Indirect Auto Lending is, in fact, the bulk of Wells Fargo Bank’s auto loan
15    portfolio, with 3.7 million loans compared to less than 250,000 for direct auto lending.
16    Katafias, identified as Harp’s deputy by Codel, was the executive in charge of all aspects
17    of indirect auto lending and financing during the Class Period. Upon information and
18    belief, both he and Harp were tasked by Wells Fargo and Wells Fargo Bank to pursue any
19
      and all revenue streams from this portfolio, including any way to maximize profits to both
20
      their division and other Wells Fargo Bank divisions, such as Consumer Lending, and both
21
      were incentivized and benefited monetarily by the acts complained of herein.
            B.
22
                   Plaintiff and Members of the Classes Suffered Harm as a Result of
23                 Defendants’ Collusive Practices
24          75.    Defendants reaped immense profits at the expense of borrowers through their
25    CPI scheme. While Defendants continued to line their pockets, borrowers were forced to
26    pay for unnecessary and unwanted CPI, and were further duped into paying charges to
27    maintain their accounts, avoid further late fees and interest charges, and avoid repossession
28    of their vehicles. Borrowers also had to expend substantial time and resources trying to
      ______________________________________________________________________________________________
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 1
      prove to Wells Fargo Bank that they in fact had proper insurance coverage in place and in
 2
      trying to repair their credit history.
 3
             76.    Often borrowers were unaware that Balboa and/or National General had even
 4
      issued the force-placed CPI policies, as they and Wells Fargo Bank failed to notify its
 5
      customers of the costly and duplicative insurance policies that they unilaterally purchased
 6
      on borrowers’ behalves. Wells Fargo’s failure to notify borrowers of anticipated—or
 7
      previously force-placed—CPI was not only unethical, but in violation of the law.
 8
      According to a Wells Fargo consultant, between 2012 and 2016, almost 100,000 CPI
 9

10
      policies violated the disclosure requirements of five states—Arkansas, Michigan,

11
      Mississippi, Tennessee and Washington. Even when borrowers notified Defendants about

12    the wrongfully placed coverage, Defendants routinely refused to remove the policies or
13    refund past payments.
14           77.    For many borrowers, the harm extended far beyond the payment of
15    unnecessary force-placed CPI. For example, for those borrowers who had arranged for
16    their monthly loan payments to be automatically deducted from their checking accounts,
17    many borrowers were unaware that Wells Fargo had imposed additional charges,
18    oftentimes leading borrowers’ accounts to become overdrawn as a result of the increase in
19
      the automatic deduction. Borrowers were then charged additional fees and penalties on
20
      their overdrawn accounts.
21
             78.    Wells Fargo and/or Wells Fargo Bank also maximized its profits by crafting
22
      its payment system to apply payments in a designated sequential order, thereby squeezing
23
      the most out of the interest payments that borrowers would pay over the life of their loans.
24
             79.    For some borrowers, the wrongful placement of CPI drove them into
25
      delinquency on their car loans, ultimately leading Wells Fargo Bank to repossess their
26
      cars, sell them and then continue to hound borrowers for funds to pay off the loans.
27

28


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 1
            80.    Borrowers also suffered the imposition of extra fees, charges and higher
 2
      interest rates from other financial institutions based on credit delinquencies that Wells
 3
      Fargo Bank had reported on borrowers’ car loans as a result of the wrongfully placed CPI.
 4
            81.    At the expense of borrowers, Wells Fargo orchestrated the arrangement
 5
      between Wells Fargo Bank, and Balboa and then National General as a part of its overall
 6
      plan to maximize revenue at all costs. The wrongful earnings of Wells Fargo Bank as a
 7
      result of the CPI scheme flowed to Wells Fargo, leading to higher revenues, which it
 8
      reported quarterly and annually to shareholders.
 9

10
            82.    Wells Fargo’s current attempt to remedy its wrongs by making borrowers

11
      “whole” is inadequate, as many borrowers have suffered the effects of Wells Fargo’s

12    wrongdoing far beyond the imposition of unwarranted CPI.
13          83.    As a result of the CPI scheme, the Oliver Wyman report concluded that
14    borrowers are owed at least $73 million. Despite disagreeing with the report, particularly
15    with the number of borrowers harmed, Wells Fargo announced it would be distributing
16    $80 million to affected borrowers. However, Wells Fargo’s own press release indicated
17    that some borrowers would only receive refunds of “certain fees,” and has offered no
18    accounting of how it decided which fees would be refunded. Furthermore, there is no
19
      compensation forthcoming to any borrower from the time period when Balboa was the CPI
20
      provider.
21
            84.    As a result of the CPI scheme, Plaintiffs and Class members suffered
22
      substantial damages, including wrongful CPI charges, assessed fees, additional expenses
23
      and costs, damage to their credit reports, delinquencies and/or repossessions.
24
      V.    TOLLING
25
            85.    Plaintiffs and members of the Classes had no way of knowing the true nature
26
      and extent of Defendants’ CPI scheme necessary to prosecute their claims.                  As
27
      demonstrated by Wells Fargo’s belated announcement of the investigation into its Wells
28
      Fargo Bank which commenced over a year ago, Defendants were intent on hiding their
      ______________________________________________________________________________________________
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 1
      behavior from regulators and borrowers. In fact, National General continues to deny it did
 2
      anything improper.
 3
            86.     Defendants were under a continuous duty to disclose to Plaintiffs and
 4
      members of the Classes the true character, quality, and nature of the charges that they
 5
      assessed to borrowers’ accounts.
 6
            87.     Defendants knowingly and actively concealed the CPI scheme, and Plaintiffs
 7
      and members of the Classes reasonably relied upon Defendants’ knowing and active
 8
      concealment. Plaintiffs and members of the Classes thus had no way of knowing the true
 9

10
      character, quality and nature of the charges that they were assessed.

11
            88.     Given Defendants’ knowing and active concealment, Plaintiffs and members

12    of the Classes could not have discovered, through the exercise of reasonable diligence, the
13    true nature of Defendants’ unlawful conduct and unwarranted charges to their accounts.
14          89.     Accordingly, the applicable statutes of limitations have been tolled by
15    operation of the discovery rule and Defendants’ fraudulent concealment with respect to all
16    claims alleged herein, and Defendants are estopped from relying on any statutes of
17    limitations in defense of this action. Further, Defendants’ conduct, as directed by Wells
18    Fargo and Wells Fargo Bank, was part of a continuing, systematic practice, with the last
19
      act in the fraudulent scheme taking place within the applicable statute of limitations. As
20
      such, the Defendants are liable for all acts undertaken as part of the scheme as continuing
21
      violations.
22
      VI.   CLASS ACTION ALLEGATIONS
23
            90.     Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23 on
24
      behalf of the following Class and Sub-Class:
25

26          Nationwide Class: All persons who were charged premiums and/or related
            fees for collateral protection insurance placed by Wells Fargo Bank prior to
27          September 30, 2016, within the applicable statute of limitations.
28          Texas Sub-Class: All residents of Texas who were charged premiums and/or
            related fees for collateral protection insurance placed by Wells Fargo Bank
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 1
            prior to September 30, 2016, within the applicable statute of limitations (the
 2
            “Texas Sub-Class”).1

 3          91.    Excluded from the proposed Class and Sub-Class are Wells Fargo, as well as
 4    its agents, officers, and directors, and their families, as well as its parent companies,
 5    subsidiaries, and affiliates. Any judicial officer assigned to this case is also excluded.
 6    Plaintiff reserves the right to revise the definition of the Class and Sub-Class based upon
 7    subsequently discovered information.
 8          92.    This action is brought and may be properly maintained as a class action under
 9    Federal Rules of Civil Procedure 23(a) and 23(b)(3).
10
            93.    The Classes are so numerous that joinder of all members is impracticable.
11
      Plaintiffs believe that there are hundreds of thousands of proposed members of the Classes
12
      throughout the United States.
13
            94.    Common questions of law and fact exist as to all members of the Classes and
14
      predominate over any issues solely affecting individual members of the Classes. The
15
      common questions of law and fact include but are not limited to:
16
                   a)    whether Defendants unlawfully purchased CPI for borrowers whose
17
      voluntary automobile insurance had not lapsed;
18
                   b)    whether Defendants wrongfully charged members of the Classes fees
19

20
      and interest related to the unlawfully purchased CPI;

21
                   c)    whether Defendants received commissions and/or other things of value
22    from providers of CPI;
23                 d)    whether Defendants unlawfully forced borrowers to pay for duplicative
24    coverage;
25

26

27

28    1
         The Nationwide Class and the Texas Sub-Class are collectively referred to as “the
      Classes.”
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 1
                   e)    whether Defendants used the mail and wires to conduct a scheme to
 2
      defraud Plaintiff and the Class by unlawfully purchasing and charging borrowers for
 3
      unnecessary CPI;
 4
                   f)    whether Defendants misrepresented that they were force-placing
 5
      insurance on Plaintiff’s and members of the Classes’ automobiles lawfully, but instead did
 6
      so to generate unreasonable and unwarranted profit for each of the Defendants;
 7
                   g)    whether Defendants conspired to take advantage of their contractual
 8
      authority to issue CPI to Plaintiff and members of the Classes pursuant to pre-arranged
 9

10
      agreements that returned an undisclosed and improper financial benefit to each Defendant;

11
                   h)    whether Defendants violated 18 U.S.C. § 1962(c);

12                 i)    whether Defendants violated 18 U.S.C. § 1962(d);
13                 j)    whether Defendants violated Cal. Bus. & Prof. Code § 17200, et. seq.;
14    and
15                 k)    whether Plaintiffs and members of the Classes are entitled to actual
16    damages, statutory damages, treble damages, punitive damages, restitution, restitutionary
17    disgorgement, and/or other equitable or declaratory relief.
18          95.    Plaintiffs’ claims are typical of the claims of the Classes. As alleged herein,
19
      Plaintiff and members of the Classes all sustained damages arising out of the same course
20
      of unlawful conduct by Defendant.
21
            96.    Plaintiffs are willing and prepared to serve the Classes in a representative
22
      capacity with all of the obligations and duties material thereto. Plaintiffs will fairly and
23
      adequately protect the interests of the Classes and has no interests adverse to, or which
24
      conflict with, the interests of the other members of the Classes.
25
            97.    Plaintiffs’ interests are co-extensive with, and not antagonistic to, those of the
26
      absent members of the Classes. Plaintiffs will undertake to represent and protect the
27
      interests of the absent members of the Classes.
28


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 1
            98.       Plaintiffs have engaged the services of the undersigned counsel. Counsel is
 2
      experienced in complex litigation, will adequately prosecute this action, and will assert and
 3
      protect the rights of, and otherwise represent, Plaintiffs and the absent members of the
 4
      Classes.
 5
            99.       A class action is superior to all other available methods for the fair and
 6
      efficient adjudication of this controversy. Plaintiffs know of no difficulty to be
 7
      encountered in the management of this litigation that would preclude its maintenance as a
 8
      class action.
 9

10
            100. Class action status is warranted under Rule 23(b)(3) because questions of law

11
      or fact common to the members of the Classes predominate over any questions affecting

12    only individual members, and a class action is superior to other available methods for the
13    fair and efficient adjudication of this controversy.
14          101. The interest of members of the Classes in individually controlling the
15    prosecution of separate actions is theoretical and not practical. Prosecution of the action
16    through multiple representatives would be objectionable and Plaintiffs anticipate no
17    difficulty in the management of this matter as a class action.
18    VII. CLAIMS
19
                                             FIRST CLAIM
20
                 VIOLATION OF THE RACKETEER INFLUENCED
21
             AND CORRUPT ORGANIZATIONS ACT, 18 U.S.C. § 1962(C)
       ON BEHALF OF THE NATIONWIDE CLASS AND THE SUB-CLASS AGAINST
                             ALL DEFENDANTS
22

23
            102. Plaintiffs hereby incorporate by reference the preceding paragraphs as if they
24
      were fully set forth herein.
25
            103. Plaintiffs, each member of the Classes, and Defendants are “persons,” as that
26
      term is defined in 18 U.S.C. §§ 1961(3) and 1962(c).
27

28


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 1
            B.     Enterprise
 2
            104. For purposes of this claim, the RICO “enterprise” is an association-in-fact, as
 3
      the term is defined in 18 U.S.C. §§ 1961(4) and 1962(c), consisting of Wells Fargo, Wells
 4
      Fargo Bank, Balboa, National General, Harp, Katafias, and Non-Parties Affiliated with the
 5
      RICO Enterprise identified above, including their respective officers, directors, employees,
 6
      agents and direct and indirect subsidiaries (the “Enterprise”). The Enterprise is separate
 7
      and distinct from the persons that constitute the Enterprise.
 8

 9
            105. The Enterprise was primarily managed by Wells Fargo and Wells Fargo Bank

10
      in conjunction with Balboa and then later, National General, and other members.

11          106. The companies and individuals that constitute the Enterprise were associated
12    for the common purpose of defrauding borrowers by charging them for CPI that was not
13    necessary. The purpose thereof was to induce borrowers to pay amounts which Wells
14    Fargo and Wells Fargo Bank were not entitled to collect.
15          107. At all relevant times, the Enterprise was engaged in and its activities affected
16    interstate commerce. The proceeds of the Enterprise were distributed to its participants.
17          108. The Enterprise has operated from at least January 2012 and its operation is
18    ongoing. The Enterprise has an ascertainable structure separate and apart from the pattern
19
      of racketeering activity in which the participants engage.
20
            C.     The Pattern of Racketeering Activity
21
            109. At all relevant times, in violation of 18 U.S.C. § 1962(c), Wells Fargo, Wells
22
      Fargo Bank, Balboa, National General, Harp, and Katafias conducted the affairs of the
23
      Enterprise through a pattern of racketeering activity as defined in RICO, 18 U.S.C. §
24
      1961(5) by virtue of the conduct described in this complaint. Wells Fargo, Wells Fargo
25
      Bank, Balboa, National General, Harp, and Katafias have conducted the affairs of the
26
      Enterprise and participated in the operation and management thereof at least through the
27

28
      following conduct:

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 1
                   a)    Wells Fargo and/or Wells Fargo Bank entered into agreements with
 2
      Balboa, and later, National General, in which they agreed to use these companies as the
 3
      provider of CPI.
 4
                   b)    In exchange for agreeing to use Balboa and later, National General, as
 5
      its CPI provider, Balboa and National General initially agreed to funnel a portion of the
 6
      CPI charges back to Wells Fargo and/or Wells Fargo Bank, disguising such payments as
 7
      “commissions.”
 8
                   c)    However, the commissions were not legitimate, but instead were
 9

10
      designed solely as a mechanism to funnel money back to Wells Fargo and/or Wells Fargo

11
      Bank as a quid pro quo for using Balboa and/or National General as its CPI provider.

12                 d)    These payments were disguised as “commissions” to hide the true
13    nature of these payments.
14                 e)    In addition, Wells Fargo and Wells Fargo Bank and Balboa and
15    National General generated illicit profits by falsely representing to borrowers that CPI was
16    required, and charging borrowers for CPI, when the borrowers were actually not required
17    to pay for CPI.
18                 f)    In or around February 2013, Wells Fargo and/or Wells Fargo Bank
19
      reportedly ceased accepting “commissions,” but they and National General continued to
20
      profit through the Enterprise.
21
                   g)    For example, National General continued to profit from the sale of CPI
22
      to borrowers who were not required to pay for such insurance.
23
                   h)    Wells Fargo also generated additional profits because, once CPI was
24
      force-placed on a borrower’s vehicle, additional fees were charged and the amount was
25
      often automatically deducted from the borrower’s account, often forcing the account into
26
      delinquency and generating yet more fees for Wells Fargo.
27

28


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 1
                   i)    In some cases, borrowers’ vehicles were repossessed, which further
 2
      increased the charges and fees Wells Fargo imposed on borrowers and allowing Wells
 3
      Fargo and/or Wells Fargo Bank to profit from the resale of the vehicle.
 4
                   j)    Wells Fargo also continued to receive loan monitoring services from
 5
      National General, a cost that should be carried by Wells Fargo as the loan servicer, not
 6
      shouldered by borrowers whose insurance was unlawfully force-placed.
 7
                   k)    In all cases, borrowers were not fully informed about the amounts
 8
      charged as CPI. In many instances, borrowers received no notice, even when legally
 9

10
      required and in other cases where notice was delivered, the notices falsely represent that

11
      borrowers were required to pay for CPI.

12                 l)    In addition, the notices and billing statements were designed to lull
13    borrowers into believing that no fraudulent scheme was occurring and that Wells Fargo
14    and/or Wells Fargo Bank and Balboa and National General were simply exercising their
15    rights under borrowers’ loan agreements. Wells Fargo and/or Wells Fargo Bank and
16    Balboa and National General sent these unremarkable statements through the mail to lull
17    Plaintiff and the Class members into a false sense of security, making it less likely that
18    borrowers would object to the improper charges, complain to the authorities, or bring
19
      lawsuits.
20
                   m)    Correspondence between Wells Fargo and/or Wells Fargo Bank and
21
      Balboa and National General were further exchanged by means of wire communication in
22
      interstate commerce writings.
23
                   n)    Additionally, amounts extracted from borrowers by way of the
24
      fraudulent scheme were exchanged between Wells Fargo and/or Wells Fargo Bank and
25
      Balboa and National General by way of wire transfer.
26

27

28


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 1
            D.     The Predicate Acts of Mail and Wire Fraud
 2
            110. The pattern of racketeering activity consisted of mail and/or wire fraud in
 3
      violation of 18 U.S.C. §§ 1341 and 1343. Specifically, Wells Fargo and/or Wells Fargo
 4
      Bank and Balboa and later National General engaged in an intentional scheme or artifice to
 5
      defraud borrowers whose loans were serviced by Wells Fargo and/or Wells Fargo Bank
 6
      and to obtain money or property from said borrowers and loan owners through false or
 7
      fraudulent pretenses, representations and promises.
 8

 9
            111. The false statement and omissions, and mail and/or wire communications

10
      were made by Wells Fargo and/or Wells Fargo Bank and Balboa and National General in

11    furtherance of the scheme constituted predicate acts of mail and/or wire fraud.
12          112. It was reasonably foreseeable to Wells Fargo and/or Wells Fargo Bank and
13    Balboa and National General that the mails and/or wires would be used in furtherance of
14    the scheme, and the mails and/or wires were in fact used to further and execute the
15    scheme.
16          113. The nature and pervasiveness of the Enterprise necessarily entailed frequent
17    wire and/or mail transmissions. The precise dates of such transmissions cannot be alleged
18    without access to the books and records of Wells Fargo and/or Wells Fargo Bank and
19
      Balboa and National General.       Nevertheless, Plaintiffs can allege such transmissions
20
      generally.
21
            114. For the purpose of furthering and executing the scheme, Wells Fargo and/or
22
      Wells Fargo Bank and Balboa and National General regularly transmitted and caused to be
23
      transmitted by means of wire communication in interstate commerce writings, electronic
24
      data and funds, and also regularly caused matters and things to be placed in post offices or
25
      authorized depositories, or deposited or caused to be deposited matters or things to be sent
26
      or delivered by private or commercial interstate carrier. For example:
27

28


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 1
                   a)    Wells Fargo and/or Wells Fargo Bank and Balboa and National
 2
      General issued materially false and misleading notices and billing statements relating to
 3
      CPI to borrowers via mail and wires;
 4
                   b)    Wells Fargo and/or Wells Fargo Bank and Balboa and National
 5
      General also communicated to borrowers with respect to force-placed insurance issues by
 6
      telephone;
 7
                   c)    Wells Fargo and/or Wells Fargo Bank and Balboa and National
 8
      General issued monthly statements via mail and/or wires falsely representing that
 9

10
      borrowers were required to pay CPI charges;

11
                   d)    Wells Fargo and/or Wells Fargo Bank and/or Balboa and/or National

12    General received illicit CPI payments from borrowers via mail and/or wire;
13                 e)    Wells Fargo and/or Wells Fargo Bank transmitted a portion of the illicit
14    CPI charges collected from borrowers to Balboa and/or National General via mail and/or
15    wire; and
16                 f)    Wells Fargo and/or Wells Fargo Bank and Balboa and National
17    General utilized the mails and/or wires for the purpose of furthering and executing the
18    scheme. In certain cases, Wells Fargo Bank and Balboa and/or National General also
19
      issued standardized notices to borrowers.
20
            115. These letters contained both affirmative misrepresentations about the nature
21
      of the charges, and were also intended to deceive borrowers into believing that the charges
22
      assessed to their account were legitimate.
23
            116. Plaintiffs and other borrowers within the Classes also received standardized
24
      monthly billing statements from Wells Fargo and/or Wells Fargo Bank. The identification
25
      of amounts charged to borrowers for CPI on these billing statements also played a role in
26
      furthering the overall scheme to defraud, as it allowed Wells Fargo and/or Wells Fargo
27
      Bank to collect unauthorized amounts from borrowers.
28


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 1
             117. These are only examples of certain instances of the pattern of racketeering
 2
      activity consisting of mail and/or wire fraud violations engaged in by Wells Fargo and/or
 3
      Wells Fargo Bank and Balboa and National General.             Each electronic and/or postal
 4
      transmission was incident to an essential part of the scheme. As detailed above, Wells
 5
      Fargo and/or Wells Fargo Bank and National General engaged in similar activities with
 6
      respect to each member of the Classes.
 7
             118. Each such electronic and/or postal transmission was incident to an essential
 8
      part of the scheme.
 9

10
             119. Additionally, each such electronic and/or postal transmission constituted a

11
      predicate act of wire and/or mail fraud in that each transmission furthered and executed the

12    scheme to defraud borrowers.
13           120. All Defendants participated in the scheme to defraud knowingly, willfully and
14    with a specific intent to defraud borrowers into paying and/or incurring falsely inflated,
15    unauthorized charges in connection with force-placed insurance policies.
16           121. The predicate acts of mail and wire fraud constitute a pattern of racketeering
17    activity as defined in 18 U.S.C. § 1961(5). The predicate acts were not isolated events, but
18    related acts aimed at the common purpose and goal of defrauding borrowers and loan
19
      owners to pay and incur the falsely inflated, unauthorized charges with respect to force-
20
      placed insurance and thereby enable Wells Fargo, Wells Fargo Bank, Balboa and National
21
      General to reap illicit profits.
22
             122. All Defendants participated in the predicate acts. These activities amounted to
23
      a common course of conduct, with similar pattern and purpose, intended to deceive
24
      borrowers.
25
             E.     Injury to Plaintiffs and the Classes
26
             123. As a direct and proximate result of violations of 18 U.S.C. § 1962(c) by
27
      Defendants, Plaintiffs and the Classes have been injured in their business or property
28
      within the meaning of 18 U.S.C. § 1964(c). Plaintiffs and the Classes paid and/or were
      ______________________________________________________________________________________________
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 1
      charged unauthorized insurance charges by reason, and as a direct, proximate and
 2
      foreseeable result, of the scheme alleged.
 3
             124. Plaintiffs and the Classes were also charged overdraft fees, and other
 4
      amounts, after Wells Fargo and/or Wells Fargo Bank deducted the unlawful amounts from
 5
      Plaintiff’s accounts, and/or otherwise assessed charges that they were not entitled to
 6
      collect.
 7
             125. Moreover, overcharging Plaintiffs and the Classes for force-placed insurance
 8
      was an integral and necessary part of the scheme, as those overcharges constituted
 9

10
      purported servicing advances that Wells Fargo and/or Wells Fargo Bank were entitled to

11
      recoup from the proceeds of the loans.
12           126. Under the provisions of 18 U.S.C. § 1964(c), Wells Fargo, Wells Fargo Bank,
13    and National General are jointly and severally liable to Plaintiffs and the Classes for three
14    times the damages sustained, plus the costs of bringing this suit, including reasonable
15    attorneys’ fees.
16                                          SECOND CLAIM

            VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT
17

18          ORGANIZATIONS ACT, 18 U.S.C. § 1962(D) – RICO CONSPIRACY
19
              ON BEHALF OF THE NATIONWIDE CLASS AND THE SUB-CLASS
                          AGAINST ALL DEFENDANTS
20
             127. Plaintiffs hereby incorporate by reference the preceding paragraphs as if they
21
      were fully set forth herein.
22
             128. RICO, 18 U.S.C. § 1962(d), provides that it “shall be unlawful for any person
23
      to conspire to violate any of the provisions of subsection (a), (b), or (c) of this section.”
24
             129. Wells Fargo has violated 18 U.S.C. § 1962(d) by conspiring to violate 18
25

26
      U.S.C. § 1962(c) with Wells Fargo Bank, Balboa, National General, Harp, and Katafias.

27
             130. As set forth in Count One, above, at all relevant times, Plaintiffs and the
28    Classes were “persons” within the meaning of RICO, 18 U.S.C. §§ 1961(3) and 1962(c).

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 1
            131. As also set forth above, at all relevant times, defendants Wells Fargo, Wells
 2
      Fargo Bank, Balboa, National General, Harp, and Katafias were “persons” within the
 3
      meaning of RICO, 18 U.S.C. §§ 1961(3) and 1962(d).
 4
            132. Wells Fargo, Wells Fargo Bank, National General, Balboa, Harp, and
 5
      Katafias formed the previously alleged association-in-fact Enterprise, within the meaning
 6
      of 18 U.S.C. § 1961(4), for the common purpose of fraudulently overcharging borrowers
 7
      and loan owners with respect to force-placed insurance. The purpose thereof was to
 8
      induce borrowers and loan owners to pay or incur fraudulently inflated, unauthorized
 9

10
      charges with respect to force-placed insurance.

11
            133. The Enterprise was engaged in, and its activities affected interstate commerce

12    within the meaning of 18 U.S.C. § 1962(c).
13          134. As set forth in Count One, above, Wells Fargo, Wells Fargo Bank, Balboa,
14    National General, Harp, and Katafias conducted or participated, directly or indirectly, in
15    the conduct of the Enterprise’s affairs through a pattern of racketeering activity within the
16    meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c).
17          135. Wells Fargo, Wells Fargo Bank, Balboa, National General, Harp, and
18    Katafias were each associated with the Enterprise and agreed and conspired to violate 18
19
      U.S.C. § 1962(c), and agreed to conduct and participate, directly or indirectly, in the
20
      conduct of the affairs of the Enterprise through a pattern of racketeering activity in
21
      violation of 18 U.S.C. § 1962(d).
22
            136. Wells Fargo, Wells Fargo Bank, Balboa, National General, Harp, and
23
      Katafias committed and caused to be committed a series of overt acts in furtherance of the
24
      conspiracy and to affect the objects thereof.
25
            137. As a direct and proximate result of the overt acts and predicate acts of in
26
      furtherance of violating 18 U.S.C. §1962(d) by conspiring to violate 18 U.S.C. § 1962(c),
27
      Plaintiffs and the Classes have been and are continuing to be injured in their business and
28
      property in an amount to be determined at trial. Such injuries include, but are not limited
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 1
      to, fraudulently inflated and unnecessary charges with respect to force-placed insurance, as
 2
      a direct, proximate and foreseeable result of the scheme alleged herein.
 3
             138. Under the provisions of 18 U.S.C. § 1964(c), Wells Fargo, Wells Fargo Bank,
 4
      Balboa, National General, Harp, and Katafias are jointly and severally liable to Plaintiffs
 5
      and the Classes for three times the damages sustained, plus the costs of bringing this suit,
 6
      including reasonable attorneys’ fees.
 7
                                              THIRD CLAIM
 8

 9          VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
                   CAL. BUS. & PROF. CODE § 17200, ET SEQ.
                   ON BEHALF OF THE NATIONWIDE CLASS
10

11      AGAINST WELLS FARGO, WELLS FARGO BANK, HARP AND KATAFIAS
12           139. Plaintiffs incorporate and reallege the allegations in the preceding paragraphs
13    as if fully set forth herein.
14           140. Plaintiffs bring their § 17200 claim on behalf of themselves and all borrowers
15    who were unlawfully (1) charged and/or paid for lender-placed auto collateral protection
16
      insurance policies that they did not need, and (2) charged and/or paid for fees and interest
17
      in connection with the unnecessary auto collateral protection insurance policies; and/or (3)
18
      paid for lender-placed auto collateral protection insurance policies that included the costs
19
      of commission payments.
20
             141. Defendants were required to adhere to the requirements of California’s Unfair
21
      Competition Law, Cal. Bus. & Prof. Code § 17200 et seq. (“UCL”), when conducting
22
      business with Plaintiffs and members of the Classes.
23
             142. The UCL reaches claims made by out-of-state residents harmed by unlawful
24
      conduct occurring inside California.
25

26
             143. Moreover, these principal decision makers, including Harp and Katafias,

27
      conceived of and managed the CPI scheme out of their California offices. Wells Fargo
28    and/or Wells Fargo Bank’s operations in California were the locus of the decisions (and/or

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 1
      ratification of decisions) to enter into agreements with Balboa and National General to
 2
      force-place auto collateral protection insurance on borrowers throughout the United States
 3
      with Balboa Insurance or National General Insurance that generated commissions in the
 4
      form of monetary and/or nonmonetary remuneration to Defendants. Moreover, the ability
 5
      to force-place insurance on members of the Classes resided with Wells Fargo Bank in
 6
      Irvine, California, who additionally communicated with members of the Class regarding
 7
      their supposed auto loan delinquencies out of their Santa Ana, California office.
 8
            144. The UCL prohibits any “unlawful” business act or practice. Defendants have
 9

10
      violated the UCL’s prohibition against engaging in unlawful acts or practices by violating

11
      the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962.

12          145. Plaintiffs reserve the right to allege other violations of law that constitute
13    other unlawful business acts or practices.
14          146. The UCL also prohibits any “unfair” business act or practice. As detailed in
15    the preceding paragraphs, Defendants engaged in unfair business acts or practices by,
16    among other things, (1) charging borrowers for unwanted and unnecessary auto collateral
17    protection insurance premiums; (2) charging borrowers for auto collateral protection
18    insurance premiums that included the cost of commissions paid to Defendants; and/or (2)
19
      reaping financial benefits at the expense of Plaintiffs and the Classes, including fees from
20
      overdrawn bank accounts, for those borrowers’ whose auto loan payments were
21
      automatically deducted from their checking or savings accounts, as well as additional fees
22
      and charges assessed to customers after reporting their delinquency on credit reports.
23
            147. Defendants systematically engaged in these unfair and unlawful business
24
      practices to the detriment of Plaintiffs and other members of the Classes.
25
            148. The harm caused by these business practices vastly outweighs any legitimate
26
      business utility they could possibly have.
27
            149. There were reasonably available alternatives to further Defendants’ legitimate
28
      business interests other than engaging in the above-described wrongful conduct.
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 1
            150. Plaintiffs and other members of the Classes have been injured and have
 2
      suffered a monetary loss as a result of Defendants’ violations of the UCL. Plaintiffs are
 3
      entitled to restitution in an amount to be determined at trial.
 4
            151. As a result of Defendant’s violations of the UCL, Plaintiffs are also entitled to
 5
      recover attorneys’ fees and costs to be paid by Defendants, as provided by Cal. Code of
 6
      Civil Procedure § 1021.5 and other applicable law.
 7
      VIII. PRAYER FOR RELIEF
 8
            WHEREFORE, Plaintiffs request that this Court enter a judgment against Defendant
 9

10
      and in favor of Plaintiffs, the Class, and Texas Sub-Class, and award the following relief:

11
            a.     that this action be certified as a class action pursuant to Rule 23 of the Federal

12    Rules of Civil Procedure, declaring Plaintiffs as the representatives of the Class and Texas
13    Sub-Class, and Plaintiffs’ counsel as counsel for the Class and Texas Sub-Class;
14          b.     that the conduct herein be declared, adjudged and decreed to be unlawful;
15          c.     award Plaintiffs and members of the Classes appropriate relief, including
16    actual damages, statutory damages, treble damages, punitive damages, and restitutionary
17    disgorgement;
18          d.     award all costs of prosecuting the litigation, including expert fees;
19
            e.     award pre- and post-judgment interest;
20
            f.     award attorneys’ fees; and
21
            g.     grant such additional relief as this Court may deem just and proper.
22
      IX.   DEMAND FOR JURY TRIAL
23
            Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs hereby demand a trial
24
      by jury as to all claims in this action.
25

26

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      Dated: August 14, 2017                        Respectfully submitted,
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12                                                  Classes
13

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20                             UNITED STATES DISTRICT COURT
21                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
22     UNITED STATES OF AMERICA,                       No. CV 2:16-07336

23                 Plaintiff
                                                       CONSENT ORDER
24                 v.
25     WELLS FARGO BANK, N.A.

       d/b/a

26     WELLS FARGO DEALER SERVICES
	
27                  Defendant.
28
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1                                       CONSENT ORDER
2                                       I. INTRODUCTION
3         1.		   This Consent Order resolves the allegations contained in the United States’
4                Complaint that Defendant Wells Fargo Bank, N.A., d/b/a Wells Fargo Dealer
5                Services (“Wells Fargo”) violated the Servicemembers Civil Relief Act
6                (“SCRA”), 50 U.S.C. § 3901, et seq., when, according to the allegations, it
7                engaged in a pattern or practice of repossessing motor vehicles from “SCRA-
8                protected servicemembers”1 without court orders from at least January 1,
9                2008 through July 1, 2015.
10        2.		   Defendant is a national bank whose motor vehicle lending operations are
11               located at 23 Pasteur in Irvine, California, in the Central District of
12               California.
13        3.		   This Order covers all loans or deficiency balances originated, acquired,
14               and/or serviced by Defendant, its parent Wells Fargo & Company, or any of
15               their subsidiaries, predecessors, acquired companies, or successor entities.
16               For purposes of this Order, loans are defined to include retail installment
17               contracts for motor vehicles.
18        4.		   Wells Fargo has cooperated fully with the United States’ investigation in this
19               matter and had taken steps to ensure its compliance with the SCRA, prior to
20               this investigation. Wells Fargo established a centralized SCRA Center of
21               Excellence that focuses specifically on SCRA compliance. The SCRA
22               Center of Excellence employs a proactive approach to identifying
23               servicemembers for SCRA protection. Wells Fargo initiated such efforts in
24               the second quarter of 2014 with a full-scale review of its portfolio for SCRA
25
26
27          1
              For purposes of this Consent Order, the term “SCRA-protected servicemember”
28    includes servicemembers as defined in 50 U.S.C. § 3911(1) and (2).
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1                 compliance. In addition, Wells Fargo previously and voluntarily commenced
2                 efforts to compensate any affected borrowers.
3          5.		   The parties agree that the Court has jurisdiction over the subject matter of this
4                 case pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1345, and 50 U.S.C. § 4041.
5          6.		   The parties agree that, to avoid costly and protracted litigation, the claims
6                 against Defendant should be resolved without further proceedings or an
7                 evidentiary hearing. Therefore, as indicated by the signatures appearing
8                 below, the United States and Defendant agree to the entry of this Order. Such
9                 agreement comes without the taking of proof and does not constitute evidence
10                or findings against or an admission of any party regarding any issue of law or
11                fact alleged in the Complaint. Defendant neither admits nor denies any of the
12                allegations in the United States’ Complaint.
13         7.		   The effective date of this Order will be the date on which it is approved and
14                entered by the Court.
15    //
16                    It is hereby ORDERED, ADJUDGED and DECREED: 

17                                 II. REMEDIAL PROVISIONS2
	
18         8.		   Defendant and its affiliates or subsidiaries, and its officers, employees,
19                agents, and representatives (including contractors and vendors that conduct
20                repossessions on behalf of Defendant) shall comply fully with all relevant
21                provisions of the SCRA prohibiting the repossession of motor vehicles of
22                SCRA-protected servicemembers without a court order, while the
23                servicemember is in military service3, provided the servicemember paid a
24
             2
25            Nothing in this Consent Order shall preclude Defendant from offering greater
      protections to servicemembers than those afforded by the Consent Order or the SCRA.
26           3
             For purposes of this Consent Order, the term “military service” is defined by 50
27    U.S.C. § 3911(2).
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1                deposit on the motor vehicle or installment on the loan while not in military
2                service.4
3                              III. COMPLIANCE WITH THE SCRA
	
4                            AND SCRA POLICIES AND PROCEDURES 

5         9.		   Within sixty (60) calendar days of the effective date of this Order, Defendant
6                shall continue to develop SCRA Policies and Procedures for Motor Vehicle
7                Repossessions in compliance with Section 3952(a) of the SCRA, 50 U.S.C. §
8                3952(a).5 These policies and procedures must include provisions that ensure:
9                a.		    In addition to any other reviews Defendant may perform to assess
10                       eligibility under the SCRA, (i) between two (2) and five (5) business
11                       days before it refers a motor vehicle loan for repossession; (ii)
12                       between two (2) and five (5) business days after it (or its agents,
13                       including contractors and vendors that conduct repossessions on
14                       behalf of Defendant) obtains possession of the motor vehicle; and
15                       (iii) between two (2) and five (5) business days before it (or its
16                       agents, including contractors and vendors that conduct repossessions
17                       on behalf of Defendant) disposes of the motor vehicle, Defendant will
18                       determine whether borrowers are servicemembers in military service
19                       who paid a deposit on the motor vehicle or installment on the loan
20                       while not in military service by: (1) reviewing any military service
21                       information (including orders) it has received from borrowers and (2)
22
23          4
               50 U.S.C. § 3917 grants additional periods of protection for reservists ordered to
      report for military service and persons ordered to report for induction. Therefore, for
24    purposes of this Consent Order, periods of protection granted by 50 U.S.C. § 3917 shall
      be considered “military service” at the time of repossession, but shall not be considered
25    “military service” at the time of payment of a deposit on the motor vehicle or installment
      on the loan.
26           5
               Because Defendant’s motor vehicle lending contracts do not obtain a security
27    interest in the nature of a mortgage, which are subject to the requirements of Section
      3953 of the SCRA, this Consent Order is limited to compliance with Section 3952(a) of
28    the SCRA, which covers installment contracts.
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1                       searching the Department of Defense Manpower Data Center
2                       database (“DMDC”) for evidence of SCRA eligibility by either (a)
3                       last name and social security number or (b) last name and date of
4                       birth.
5               b.		    If Defendant is informed via military service information received
6                       from a borrower, or via the periodic electronic check of the DMDC
7                       described above, that the borrower is a servicemember in military
8                       service who paid a deposit on the motor vehicle or installment on the
9                       loan while not in military service, it may refer the loan for
10                      repossession or conduct the repossession itself only after obtaining a
11                      court order.
12              c.		    If Defendant discovers, after obtaining possession but before
13                      disposing of the motor vehicle, that the borrower is a servicemember
14                      in military service who paid a deposit on the motor vehicle or
15                      installment on the loan while not in military service, Defendant shall
16                      attempt to contact the borrower and offer to arrange to return the
17                      vehicle as soon as possible, but within no later than seventy-two (72)
18                      hours, and shall reverse on the borrower’s account all of the charges
19                      resulting from the repossession. Defendant shall also correct any
20                      negative credit reporting related to the repossession. If Defendant
21                      cannot make contact with the borrower within seventy-two (72)
22                      hours, Defendant shall cause the vehicle to be returned to the location
23                      where possession was taken, unless: (1) return to such location
24                      presents a significant risk of damage to the vehicle; (2) return to such
25                      location presents a significant risk that the vehicle will be
26                      impounded; (3) the borrower has previously informed Defendant that
27                      the vehicle has been abandoned; or (4) the vehicle was recovered
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1                       under circumstances suggesting that the vehicle had been abandoned.
2                       If the vehicle is not returned to the borrower within seventy-two (72)
3                       hours, Defendant shall make 3 additional attempts to reach the
4                       borrower based upon contact information in its files, and return the
5                       vehicle as soon as possible, but within no later than seventy-two (72)
6                       hours, of a borrower’s request for return, without charging storage
7                       fees. The vehicle may only be sold or otherwise disposed of only
8                       after the contact attempts referenced in this subparagraph have been
9                       made.
10              d.		    If Defendant pursues a repossession action in court and the borrower
11                      fails to answer the action, Defendant will file an affidavit of military
12                      service with the court as required by Section 3931(b)(1) of the
13                      SCRA, 50 U.S.C. § 3931(b)(1). Before seeking entry of default,
14                      Defendant will search the DMDC and review information in its
15                      possession or control to determine if the borrower is SCRA-
16                      protected. If Defendant learns that the borrower is SCRA-protected,
17                      Defendant will: (1) file an affidavit stating that “the defendant is in
18                      military service” before seeking default judgment; and (2) attach the
19                      most recent military status report from the DMDC or a copy of the
20                      military orders or other documentation to the affidavit.
21              e.		    Defendant may only rely on a servicemember’s waiver of rights
22                      under Section 3952(a) of the SCRA if it obtains a written agreement
23                      as provided in Section 3918 of the SCRA, 50 U.S.C. § 3918. If
24                      Defendant makes an unsolicited initiation of the waiver process with
25                      the servicemember, it must do so at least thirty (30) calendar days in
26                      advance of any anticipated repossession by sending a notice and a
27                      copy of the proposed waiver to the servicemember. To the extent
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1                         Defendant exercises this right, Defendant shall use a notice that
2                         prominently incorporates the language and layout of the form
3                         attached as Exhibit A. If the servicemember initiates the waiver
4                         process by offering to voluntarily surrender the vehicle or indicating
5                         an intent to abandon the vehicle, Defendant must provide a copy of
6                         the notice of the type described in Exhibit A and may obtain
7                         possession of the vehicle at any point after receiving a signed waiver.
8                 f.		    Defendant may take possession of a motor vehicle that has been
9                         impounded by a non-related third-party or abandoned6 upon receiving
10                        notice of the impoundment or abandonment even when the borrower
11                        is a servicemember in military service who paid a deposit on the
12                        motor vehicle or installment on the loan while not in military service.
13                        Defendant must, however, provide notice to the servicemember that it
14                        has taken possession and inform the servicemember of the rights and
15                        protections under the SCRA, using a notice that prominently
16                        incorporates the language and layout of the form attached as Exhibit
17                        A. Defendant may dispose of the vehicle only after such notice and
18                        any notice required by state law have been provided and at least thirty
19                        (30) calendar days have passed.
20        10.		   Within sixty (60) calendar days of the effective date of this Order, Defendant
21                shall continue to develop SCRA Policies and Procedures for Providing SCRA
22                Relief in its motor vehicle lending line of business. This includes, but is not
23
24
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26          6
              To be considered “abandoned” under this Order, the motor vehicle must have
27    been left someplace other than the servicemember’s residence or residential parking
      area, with indications of no intent to retrieve it.
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1                limited to, policies regarding reducing interest rates under Section 3937.7
2                The Policies and Procedures shall contain the following provisions:
3                 a.		   Defendant shall accept servicemembers’ notice of military status
4                        pursuant to the SCRA (including provisions of the SCRA that require
5                        notice in order to receive relief) made via facsimile, United States
6                        Postal Service First Class Mail (postage pre-paid), overnight mail, or
7                        electronically.
8                 b.		   Defendant shall designate customer service representatives who have
9                        been specifically trained on the protections of the SCRA and who are
10                       responsible for the intake of and response to servicemembers’
11                       inquiries regarding the SCRA. Defendant shall ensure that it has a
12                       designated telephone number, and electronic mail address, at which
13                       servicemembers may reach the designated SCRA customer service
14                       representatives, who will address questions or concerns regarding
15                       relief pursuant to the SCRA. Defendant shall also include a page on
16                       its website detailing eligibility for, and relief provided by, the SCRA,
17                       and providing the designated telephone number and electronic mail
18                       address to obtain SCRA relief, or raise questions or concerns
19                       regarding such relief.
20                c.		   When Defendant receives notice from a servicemember of military
21                       status pursuant to the SCRA, within sixty (60) calendar days, it shall
22                       review all the servicemember’s loans, regardless of type of
23                       obligation, even if it is outside the motor vehicle lending line of
24                       business, and it shall determine the servicemember’s eligibility for all
25                       forms of relief pursuant to the SCRA on all loans. If the
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27             The SCRA Policies and Procedures for Providing SCRA Relief need not include
      early termination of leases under Section 3955 so long as Defendant is not the business
28    of leasing motor vehicles.
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1                        servicemember is determined to be eligible, the relief will be applied
2                        retroactively to the first day of eligibility.
3                 d.		   Within twenty (20) business days after determining a
4                        servicemember’s eligibility for relief pursuant to the SCRA,
5                        Defendant shall notify the servicemember in writing8 of its
6                        determination. If Defendant grants relief, Defendant shall notify the
7                        servicemember in writing of the specific terms of the relief provided.
8                        If Defendant denies relief, Defendant shall also notify the
9                        servicemember in writing of the reason(s) for the denial, and it shall
10                       ensure that such servicemember is given an opportunity to provide
11                       additional documentation or information to establish eligibility for
12                       relief pursuant to the SCRA.
13                e.		   With respect to forms of relief for which the SCRA requires
14                       provision of military orders, in the event that a servicemember fails to
15                       provide a copy of military orders entitling him or her to the relief,
16                       Defendant shall search the DMDC to confirm eligibility. If the
17                       DMDC records provide dates of service that confirm eligibility,
18                       Defendant shall provide the relief required by the SCRA for the dates
19                       indicated by the DMDC and shall notify the servicemember that the
20                       servicemember may submit additional documentation to establish
21                       eligibility dates if the servicemember disagrees with the dates
22                       provided by the DMDC. If the DMDC records do not confirm
23
            8
24           For all written notices to servicemembers required by the Consent Order,
      Defendant shall use either: (1) the email address or mailing address chosen by the
25    borrower as the primary means of communication either by previous election or in the
26    most recent communication with the Defendant; or (2) if, no primary means of
      communication has been chosen, the mailing and e-mail address listed in the
27    servicemember’s most recent communication with Defendant, in addition to the
28    servicemember’s current mailing address in Defendant’s servicing records (if different).
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1                        eligibility, Defendant may deny the relief if it informs the
2                        servicemember in writing that he or she is not eligible for the relief
3                        unless he or she provides a copy of documents establishing military
4                        service. Such documents will include any document prepared
5                        exclusively by a branch of the military, the Department of Defense,
6                        or a borrower’s commanding officer that indicates that the borrower
7                        is on active duty (e.g., active duty orders, change of station orders,
8                        DD-214 forms, letters from commanding officers, etc.). Defendant
9                        shall request this additional information before making a final
10                       determination that the servicemember is not eligible for relief.
11                f.		   Defendant shall accept military orders without requiring a specific
12                       end date for the period of military service. Defendant also shall
13                       accept military orders without requiring the specification of the date
14                       upon which the servicemember first entered active duty for this
15                       period of service.
16                g.		   Defendant shall provide SCRA relief beginning on the earliest
17                       eligible date provided in the orders or by the DMDC. However, if the
18                       earliest date provided indicates that the servicemember was on active
19                       duty at the time of loan origination, Defendant shall notify the
20                       servicemember that he or she has been declined for the protection,
21                       but shall provide the servicemember a reasonable opportunity to
22                       provide documentation showing that the servicemember was not on
23                       active duty at the time of loan origination.
24                h.		   Defendant shall be permitted to discontinue relief granted pursuant to
25                       the SCRA only after Defendant searches the DMDC and the DMDC
26                       reports that the servicemember is not in military service (or in any
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1                         SCRA-protected period after the termination of military service).9
2                         Defendant shall notify the servicemember in writing of the
3                         discontinuation, and it shall ensure that such servicemember is given
4                         an opportunity to provide additional documentation or information to
5                         reestablish eligibility for relief pursuant to the SCRA. Defendant
6                         may choose to provide relief for a longer period than is required by
7                         this subparagraph.
8                  i.		   The Policies and Procedures required by this Paragraph do not excuse
9                         Defendant from providing, or allow Defendant to delay providing,
10                        forms of relief for which the SCRA does not require a notification
11                        from a servicemember. For example, the Policies and Procedures
12                        required by this Paragraph do not affect the timing requirement of
13                        Paragraph 9.
14        11.		   No later than sixty (60) calendar days after the effective date of this Order,
15                Defendant shall provide a copy of the proposed SCRA Policies and
16                Procedures required under Paragraphs 9 and 10 to counsel for the United
17                States.10 The United States shall respond to Defendant’s proposed SCRA
18                Policies and Procedures within forty-five (45) calendar days of receipt. If the
19                United States objects to any part of Defendant’s SCRA Policies and
20                Procedures, the parties shall confer to resolve their differences. If the parties
21                cannot resolve their differences after good faith efforts to do so, either party
22
            9
23           In the case where an SCRA-protected servicemember provides Defendant with
      valid military orders that include an end date of military service inconsistent with that
24    appearing in the DMDC, Defendant may only discontinue the relief after the latter of the
25    two end dates has expired or it obtains confirmation from the borrower that he or she has
      ended military service.
26          10
               All materials required by this Consent Order to be sent to counsel for the United
27    States shall be sent by commercial overnight delivery addressed as follows: Chief,
      Housing and Civil Enforcement Section, Civil Rights Division, U.S. Department of
28    Justice, 1800 G Street, N.W., 7th Floor, Washington, DC 20006, Attn: DJ 216-12C-2.
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1                 may bring the dispute to this Court for resolution. Defendant shall begin the
2                 process of implementing the SCRA Policies and Procedures within ten (10)
3                 calendar days of approval by the United States or the Court.
4         12.		   If, at any time during the term of this Order, Defendant proposes to materially
5                 change its SCRA Policies and Procedures described herein, it shall first
6                 provide a copy of the proposed changes to counsel for the United States. If
7                 the United States does not deliver written objections to Defendant within
8                 forty-five (45) calendar days of receiving the proposed changes, the changes
9                 may be implemented. If the United States makes any objections to the
10                proposed changes within the forty-five (45)-day period, the specific changes
11                to which the United States objects shall not be implemented until the
12                objections are resolved pursuant to the process described in Paragraph 11.
13                                         IV. TRAINING
14        13.		   Defendant shall provide additional SCRA compliance training to any
15                employees who: (a) provide customer service to servicemembers in
16                connection with the servicing of motor vehicle loans, (b) have significant
17                involvement in servicing motor vehicle loans, including the ability to reduce
18                interest rates or terminate motor vehicle leases for servicemembers as
19                contemplated by the terms of the SCRA, or (c) have significant involvement
20                in repossessions of motor vehicles, (hereinafter together “covered
21                employees”) within forty-five (45) calendar days after Defendant’s training
22                program is approved by the United States or the Court pursuant to Paragraph
23                15. Defendant shall provide to each covered employee: (a) training on the
24                terms of the SCRA specific to the employee’s responsibilities associated with
25                that employee’s position; (b) training on the terms of Defendant’s SCRA
26                Policies and Procedures (both those required pursuant to Paragraph 9 and 10,
27                and all others adopted by Defendant) specific to the employee’s
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1                 responsibilities associated with that employee’s position; (c) training on the
2                 terms of this Order specific to the employee’s responsibilities associated with
3                 that employee’s position and his or her responsibilities and obligations under
4                 the SCRA; and (d) the contact information for the SCRA customer service
5                 representatives described in Paragraph 10(b). Defendant shall also follow
6                 these training procedures for all of their employees who subsequently become
7                 covered employees within thirty (30) calendar days of their hiring, promotion
8                 or transfer.
9         14.		   During the term of this Order, Defendant shall continue to provide annual
10                SCRA training, with the same content as described in Paragraph 13, to
11                covered employees with respect to their responsibilities and obligations under
12                the SCRA, the SCRA Policies and Procedures and the terms of this Order.
13        15.		   Within forty-five (45) calendar days of the United States’ approval of the
14                SCRA Policies and Procedures pursuant to Paragraphs 9 and 10, Defendant
15                shall provide to the United States the curriculum, instructions, and any
16                written material included in the training required by Paragraphs 13 and 14.
17                These materials may incorporate SCRA compliance training offered on or
18                before the effective date of this Order. The United States shall have forty-
19                five (45) calendar days from receipt of these documents to raise any
20                objections to Defendant’s training materials, and, if it raises any, the parties
21                shall confer to resolve their differences. In the event they are unable to do so,
22                either party may bring the dispute to this Court for resolution.
23        16.		   The covered employees may undergo the training required by Paragraphs 13
24                and 14 via live training, computer-based training, web-based training, or via
25                interactive digital media. If the training is conducted in any format other than
26                live training, Defendant shall ensure that covered employees have the
27                opportunity to have their questions answered by a company contact that
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1                 Defendant identifies as having SCRA expertise within two (2) business days
2                 of the training. The training must require the covered employees to verify
3                 their participation. If the training is conducted in any format other than live
4                 training, the training must require that covered employees demonstrate
5                 proficiency. Any expenses associated with the training program required by
6                 Paragraphs 13 and 14 shall be borne by Defendant.
7         17.		   Defendant shall certify in writing to counsel for the United States that covered
8                 employees successfully completed the training required by Paragraphs 13 and
9                 14 and that said employees received the Consent Order and the SCRA
10                Policies and Procedures specific to the employee’s responsibilities associated
11                with the loan being serviced. Additionally, Defendant shall maintain a list of
12                all covered employees who successfully completed the training required by
13                Paragraphs 13 and 14. For the duration of this Order, copies of this list shall
14                be provided to the United States upon request.
15                                      V. COMPENSATION
16        18.		   Defendant will deposit in an interest-bearing escrow account the sum of
17                $4,130,000 to fund the compensation payments required by Paragraph 22.
18                Title to this account will be in the name of “Wells Fargo Bank, N.A. d/b/a
19                Wells Fargo Dealer Services for the benefit of affected persons pursuant to
20                Order of the Court in Civil Action No. [XXX]”. Defendant will provide
21                written verification of the deposit to the United States within fifteen (15)
22                calendar days of the effective date of this Order. Any interest that accrues
23                will become part of the Settlement Fund and be used and disposed of as set
24                forth herein. If the compensation payments required by Paragraph 22 total
25                more than $4,130,000, Defendant will deposit into the escrow account all
26                necessary additional funds to make payments before the deadlines established
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1                 by Paragraph 27. Any taxes, costs, or other fees related to the escrow account
2                 shall be paid by Defendant.
3         19.		   In the event Defendant determines that there are additional repossession
4                 accounts that were not in compliance with the SCRA, Defendant will
5                 undertake remedial compensation actions on those accounts while this Order
6                 is in effect and in a similar manner as outlined in this Order.
7         20.		   The United States has determined that Defendant conducted 413 motor
8                 vehicle repossessions between January 1, 2008 and July 1, 2015 that were not
9                 in compliance with the SCRA; Defendant maintains that 31 of these were not
10                violations of the SCRA, however Defendant has agreed to remediate these 31
11                repossessions in the interest of compromise. The United States has
12                previously provided the list of these repossessions to Defendant.
13        21.		   Within thirty (30) calendar days of the effective date of this Order, Defendant
14                shall provide to the United States an electronically searchable list of all its
15                repossessions between July 2, 2015 and the effective date of this Order. The
16                United States shall run this list through the DMDC and undertake any
17                independent investigation it deems appropriate to identify any additional
18                repossessions that were not in compliance with the SCRA. The United States
19                shall provide Defendant with the list of additional repossessions that were not
20                in compliance with SCRA within thirty (30) calendar days of receiving
21                Defendant’s complete repossession list. In the event Defendant objects to the
22                United States’ list, Defendant shall be afforded thirty (30) calendar days to
23                produce evidence of compliance to the United States. After considering in
24                good faith all evidence produced by Defendant, the United States shall make
25                a final determination of the additional repossessions that were not in
26                compliance with the SCRA within thirty (30) calendar day of Defendant’s
27                production of evidence.
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1         22.		   For each non-SCRA compliant repossession identified pursuant to Paragraphs
2                 20 and 21, Defendant shall provide the following compensation:
3                  a.		   an amount of $10,000;
4                  b.		   any lost equity in the repossessed motor vehicle, as calculated by:
5                         subtracting any outstanding principal, interest, and other amounts
6                         owing by the borrowers (excluding any fees associated with
7                         repossession), plus any liens at the time of repossession and any
8                         disbursements made to the servicemember or a third party other than
9                         a lien holder from the proceeds of the repossession sale (exclusive of
10                        any fees associated with the repossession) from the retail value of the
11                        motor vehicle at the time of repossession as identified in the National
12                        Automobile Dealers Association (“NADA”) Guide; and
13                 c.		   interest accrued on this lost equity, calculated from the date of the
14                        repossession sale until the date payment is issued, at the rate set forth
15                        in 28 U.S.C. § 1961.
16                 Defendant shall provide the United States with all records used to make the
17                 payment calculations described in this Paragraph for the United States’
18                 review and approval.
19        23.		   The amounts described in Paragraph 22(a) shall be paid entirely to the
20                servicemember-borrower on the note securing the motor vehicle. Defendant
21                may require the servicemember-borrower to sign the Declaration at Exhibit
22                B-1 and/or the Release at Exhibit B-2. Defendant may require any non-
23                servicemember co-borrowers to sign the Release at Exhibit B-2. The
24                amounts described in Paragraph 22(b) and (c) shall be distributed equally
25                among all borrowers (including non-servicemember borrowers) on the title to
26                the motor vehicle who sign the Declaration at Exhibit B-1, if required, and
27                the Release at Exhibit B-2. In cases where Defendant has already taken
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1                 remedial actions with respect to a repossession identified pursuant to
2                 Paragraphs 20 and 21, the United States shall consider such remedial actions
3                 and adjust the compensation to be awarded.11
4         24.		   Within sixty (60) calendar days of the effective date of this Order, Defendant
5                 shall submit a plan (“Remediation Plan”) to provide for the administration of
6                 borrower compensation. Pursuant to the Remediation Plan, Defendant shall
7                 conduct the activities set forth in Paragraphs 24-28. The terms of the
8                 Remediation Plan shall be subject to the non-objection of the United States.
9                 Defendant shall bear all costs and expenses of implementing the Remediation
10                Plan. The Remediation Plan shall require Defendant to work cooperatively
11                with the United States in the conduct of its activities, including reporting
12                regularly to and providing all reasonably requested information to the United
13                States.
14        25.		   Defendant, as part of its Remediation Plan, shall establish, and maintain
15                throughout the contract period, cost-free means for affected servicemembers
16                to contact it, including an electronic mail address, a website, and a toll-free
17                telephone number.
18        26.		   For non-SCRA compliant repossessions identified pursuant to Paragraph 20,
19                Defendant shall, to the extent it has not already, notify each identified
20                servicemember by letter (using wording mutually agreeable to Defendant and
21                the United States) within sixty (60) calendar days of the effective date of this
22                Order. After the United States’ determination, as provided in Paragraph 21,
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24          11
               In determining the amount of compensation due to any servicemember or co-
25    borrower pursuant to Paragraph 22, the United States will credit any monetary
26    compensation or other remediation efforts, including returning the motor vehicle to the
      borrower, already provided to any servicemember or co-borrower for alleged compliance
27    issues pursuant to Section 3952 of the SCRA and arising from the same motor vehicle
28    loan.
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1                 Defendant shall notify each identified servicemember by letter (using
2                 wording mutually agreeable to Defendant and the United States) within forty-
3                 five (45) calendar days of the United States’ determination. For
4                 repossessions where money is due to a non-servicemember borrower pursuant
5                 to Paragraph 22, Defendant shall notify each identified non-servicemember
6                 borrower by letter (using wording mutually agreeable to Defendant and the
7                 United States) within fifteen (15) calendar days of receiving the Declaration,
8                 if required, and Release from the servicemember-borrower. Defendant shall
9                 provide the United States with samples of all letters, and receive the United
10                States’ approval of the sample letters, before mailing any letter required by
11                this Paragraph, and all letters mailed pursuant to this Paragraph shall be
12                accompanied by the Declaration at Exhibit B-1, if required, and the Release
13                at Exhibit B-2. The Remediation Plan shall set forth effective methods to
14                make contact with, and obtain a response from, each identified
15                servicemember and non-servicemember borrower.
16        27.		   Defendant shall issue and mail compensation checks no later than twenty-one
17                (21) calendar days after receipt of a signed declaration, if required, and
18                release. Defendant shall skip trace and redeliver any payment that is returned
19                to Defendant as undeliverable, or that is not deposited or cashed within six
20                (6) months.
21        28.		   Defendant shall for a period of two (2) years following the effective date of
22                this Order provide the United States with a monthly accounting of all
23                declarations, if required, and releases received, checks issued (including
24                copies of issued checks), and notifications without responses or that were
25                returned as undeliverable. Defendant shall report any uncashed checks in
26                accordance with state unclaimed property laws.
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1         29.		   Any money not distributed from the escrow account, including accrued
2                 interest, within two (2) years of the date the initial notifications are sent to
3                 persons eligible for the compensation payments required by Paragraph 22
4                 will be distributed to one or more charitable organizations that assist
5                 servicemembers. Recipient(s) of such funds must not be related to
6                 Defendant. Before selecting the organization(s), Defendant will obtain a
7                 proposal from the organization(s) on how the funds will be used consistent
8                 with furthering the goals of the SCRA, submit such proposal to the United
9                 States, and consult with and obtain the non-objection of the United States.
10                The United States and Defendant may request modification of the proposal
11                before approving the organization(s). The parties will thereafter seek
12                approval from the Court to distribute the remaining funds to the qualified
13                organization(s). Defendant will require each recipient to submit to Defendant
14                and the United States a detailed report on how funds are utilized within one
15                (1) year after the funds are distributed, and every year thereafter until the
16                funds are exhausted.
17        30.		   Defendant will be entitled to a set-off, or any other reduction, of the amount
18                of compensation payments required by Paragraph 22 because of any debts
19                owed by the recipient, only in the calculation of lost equity as provided by
20                Paragraph 22(b). Defendant also will make payments notwithstanding any
21                release of legal claims, arbitration agreement, or loan modification previously
22                signed by any such recipient.
23        31.		   In the event that the United States has reason to believe that Defendant is not
24                materially complying with the terms of the Remediation Plan, Defendant
25                shall present for review and determination of non-objection a course of action
26                to effectuate material compliance with the Remediation Plan. The United
27                States shall make a determination of non-objection to the course of action or
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1                 direct Defendant to revise it. In the event that the United States directs
2                 revisions, Defendant shall make the revisions and resubmit the course of
3                 action to the United States within thirty (30) days. Upon notification that the
4                 United States has made a determination of non-objection, Defendant shall
5                 implement the course of action. If the parties cannot resolve differences with
6                 regard to the revised course of action after good faith efforts to do so, either
7                 party may bring the dispute to this Court for resolution. No individual may
8                 obtain review by the Court or the parties of the identifications made, and
9                 payments disbursed, pursuant to Paragraphs 20-28.
10                                       VI. OTHER RELIEF
11        32.		   Concurrent with providing financial compensation to the servicemember-
12                borrower, Defendant must request that all three (3) major credit bureaus
13                delete trade lines for accounts belonging to the servicemember(s) and any co-
14                borrower(s) attributable specifically to the wrongful repossessions. Further,
15                Defendant shall abandon, and must indemnify the servicemember and his or
16                her co-borrower(s) against any third-party’s pursuing, any claim for
17                deficiency that was remaining on the SCRA-protected loan after a
18                repossession, where the repossession was allegedly completed in violation of
19                the SCRA by Defendant.
20        33.		   Every quarter for a period of two (2) years following the effective date of this
21                Order, Defendant shall provide the United States with an accounting of all
22                credit entries repaired.
23                                      VII. CIVIL PENALTY
24        34.		   Within thirty (30) calendar days of the effective date of this Order, Defendant
25                shall pay a total of Sixty Thousand Dollars ($60,000) to the United States
26                Treasury as a civil penalty pursuant to 50 U.S.C. § 4041(b)(3) and 28 C.F.R.
27                85.3(b)(4), to vindicate the public interest. The payment shall be in the form
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1                 of an electronic funds transfer pursuant to written instructions to be provided
2                 by the United States.
3     VIII. ADDITIONAL REPORTING AND RECORD-KEEPING REQUIREMENTS
4         35.		   For the duration of this Order, Defendant shall retain all records relating to its
5                 obligations hereunder, including its records with respect to all loans for which
6                 a servicemember has sought SCRA relief, whether that relief was granted by
7                 Defendant, all records involving repossessions, and all records relating to
8                 compliance activities as set forth herein. The United States shall have the
9                 right to review and copy any such records, including electronic data, upon
10                reasonable request during the term of this Order.
11        36.		   During the term of this Order, Defendant shall notify counsel for the United
12                States in writing every six (6) months of receipt of any SCRA or military-
13                related complaint by the motor vehicle lending line of business. Defendant
14                shall provide a copy of any written complaints with the notifications.
15                Defendant will incorporate into its SCRA Policies and Procedures a
16                requirement that all customer service personnel, upon receiving any oral
17                SCRA complaint, shall notify individuals designated and trained to receive
18                SCRA complaints pursuant to Paragraph 10(b). Whether regarding a written
19                or oral SCRA complaint, the notification to the United States shall include
20                the full details of the complaint, including the complainant’s name, address,
21                and telephone number, and the full details of all actions Defendant took to
22                resolve the complaint. Defendant shall also promptly provide the United
23                States all information it may request concerning any such complaint. If the
24                United States raises any objections to Defendant’s actions, the parties shall
25                meet and confer to consider appropriate steps to address the concerns raised
26                by the United States’ review. If the parties are unable to come to an
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1                 agreement regarding such objections or concerns, either party may bring the
2                 dispute to this Court for resolution.
3                               IX. SCOPE OF CONSENT ORDER
4         37.		   The provisions of this Order shall apply to Defendant, its parent Wells Fargo
5                 & Company, and any of their subsidiaries, predecessors, acquired companies,
6                 or successor entities. It shall also apply to the officers, employees, agents,
7                 representatives, assigns, successors-in-interest, and all persons and entities in
8                 active concert or participation with all of those entities, including with respect
9                 to any loans they acquired from January 1, 2008 to the effective date of this
10                Order.
11        38.		   In the event that Defendant is acquired by or merges with another entity,
12                Defendant shall, as a condition of such acquisition or merger, obtain the
13                written agreement of the acquiring or surviving entity to be bound by any
14                obligations remaining under this Order for the remaining term of this Order.
15        39.		   This Order does not release claims for practices not addressed in the
16                Complaint’s allegations, and it does not resolve and release claims other than
17                those under Section 3952(a) of the SCRA. This Order does not release any
18                claims that may be held or are currently under investigation by any federal
19                agency, or any claims that may be pursued for actions that may be taken by
20                any executive agency established by 12 U.S.C. § 5491 or the appropriate
21                Federal Banking Agency (FBA), as defined in 12 U.S.C. § 1813(q), against
22                Defendant, Wells Fargo & Company, any of their affiliated entities, and/or
23                any their institution-affiliated parties, as defined by 12 U.S.C. § 1818 or any
24                other statute or regulation.
25        40.		   Nothing in this Order will excuse Defendant’s compliance with any currently
26                or subsequently effective provision of law or order of a regulator with
27                authority over Defendant that imposes additional obligations on it.
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1         41.		   The parties agree that, as of the effective date of this Order, litigation is not
2                 “reasonably foreseeable” concerning the matters described above. To the
3                 extent that either party previously implemented a litigation hold to preserve
4                 documents, electronically stored information (ESI), or things related to the
5                 matters described above, the party is no longer required to maintain such
6                 litigation hold. Nothing in this Paragraph relieves either party of any other
7                 obligations imposed by this Order.
8       X. MODIFICATIONS, ATTORNEY’S FEES AND COSTS, AND REMEDIES
9                                       FOR NON-COMPLIANCE
10        42.		   Any time limits for performance imposed by this Order may be extended by
11                the mutual written agreement of the parties.
12        43.		   The parties shall be responsible for their own attorney’s fees and court costs,
13                except as provided for in Paragraph 45.
14        44.		   The parties shall endeavor in good faith to resolve informally any differences
15                regarding the interpretation of and compliance with this Order prior to
16                bringing such matters to the Court for resolution. However, in the event the
17                United States contends that there has been a failure by Defendant, whether
18                willful or otherwise, to perform in a timely manner any act required by this
19                Order or otherwise comply with any provision thereof, the United States may
20                move the Court to impose any remedy authorized by law or equity, including,
21                but not limited to, an order requiring the performance of such act or deeming
22                such act to have been performed, and an award of any damages, costs, and
23                attorney’s fees which may have been occasioned by Defendant’s violation or
24                failure to perform.
25                             XI. RETENTION OF JURISDICTION
26        45.		   As described in Paragraph 4, for the past two and one-half years, Defendant
27                has been engaged in large-scale voluntary SCRA compliance efforts. This
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1               Order shall be in effect for an additional period of two and one-half years
2               from its date of entry. The Court shall retain jurisdiction for the duration of
3               this Order to enforce its terms, after which time this case shall be dismissed
4               with prejudice. The United States may move the Court to extend the duration
5               of this Order in the interests of justice.
6
7         SO ORDERED, this ___ day of _____, 2016.
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10                                           _______________________________
                                             UNITED STATES DISTRICT JUDGE
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1     The undersigned hereby apply for and consent to the entry of the Order: 

2     For the United States of America:
3      EILEEN M. DECKER                                 LORETTA E. LYNCH
       United States Attorney                           Attorney General
4
5      DOROTHY A. SCHOUTEN                              VANITA GUPTA
       Assistant United States Attorney                 Principal Deputy
6
       Chief, Civil Division                            Assistant Attorney General
7                                                       Civil Rights Division
8
       /s/ Joanna Hull                                  /s/ Sameena Shina Majeed
9      JOANNA HULL                                      SAMEENA SHINA MAJEED
       Assistant United States Attorney                 Chief, Housing and Civil Enforcement
10
       Chief, Civil Rights Section                      Section
11
12                                                      /s/ Elizabeth A. Singer
                                                        ELIZABETH A. SINGER
13                                                      Director, U.S. Attorneys’ Fair Housing
14                                                      Program

15                                                      /s/ Daniel P. Mosteller
16                                                      NICOLE M. SIEGEL
                                                        DANIEL P. MOSTELLER
17                                                      Trial Attorneys
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1     For Defendant Wells Fargo Bank, N.A., d/b/a Wells Fargo Dealer Services:
2
3     /s/ Erin J. Illman
      ERIN J. ILLMAN (CA No. 238262)
4
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      Charlotte, NC 28202
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      Phone: (704) 338-6123
7     Fax: (704) 332-8858
      eillman@bradley.com
8
9     ROBERT R. MADDOX
      KEITH S. ANDERSON
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      ALISON C. SMITH
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16    kanderson@bradley.com
      acsmith@bradley.com
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 1    The undersigned hereby apply for and consent to the entry of the Order: 

 2    For the United States of America:
 3    EILEEN M. DECKER                               LORETTA E. LYNCH
      United States Attorney                         Attorney General
 4
 5    DOROTHY A. SCHOUTEN                            VANITA GUPTA
      Assistant United States Attorney               Principal Deputy
 6
      Chief, Civil Division                          Assistant Attorney General
 7                                                   Civil Rights Division          ....
 8
      Isl Joanna Hull                                    l'aa,dU(O
 9    JOANNA HULL                                    SAMEENA SHINA MAJE
      Assistant United States Attorney               Chief, Housing and Civil Enforcement
10
      Chief, Civil Rights Section                    Section
11
12
13                                                   Director, U.S. Attorneys' Fair Housing


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16                                                   NICOLE M. SIEGEL
                                                     DANIEL P. MOSTELLER
17                                                   Trial Attorneys
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 1 	 For Defendant Wells Fargo Bank, N.A., d/b/a Wells Fargo Dealer Services:
 2

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  9 	 ROBERT R. MADDOX 

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1                                           EXHIBIT A
2
3            IMPORTANT NOTICE AFFECTING MILITARY SERVICEMEMBERS
4
5     RIGHTS AND PROTECTIONS AFFORDED UNDER THE SERVICEMEMBERS
6
7                                      CIVIL RELIEF ACT
8
9     Attached to this notice you will find a waiver of rights and protections that may be
10    applicable to you and your dependents pursuant to the Servicemembers Civil Relief Act,
11    50 U.S.C. § 3901, et seq. (the “SCRA”). The SCRA provides military personnel and
12    their dependents with a wide range of legal and financial protections. Among other
13    benefits and protections, the SCRA:
14       •		    Prohibits the repossession of a servicemember’s motor vehicle without a court
15              order, as long as a deposit or at least one installment payment was made while
16              the borrower was not in military service.
17       •		    Upon notice by the servicemember, imposes a 6% maximum rate of interest
18              that may be charged during military service on loans incurred before the
19              servicemember began his or her current military service.
20       •      Postpones court actions against servicemembers under certain circumstances.
21    If you choose to sign the attached waiver, Wells Fargo will have the option to proceed
22    with a repossession of your motor vehicle without the protections of the SCRA. If you
23    do not sign this waiver, Wells Fargo will be required to obtain a court order to repossess
24    if you took out your loan and made a down payment on the motor vehicle, or at least one
25    payment on the loan, when you were not in military service. You may be able to seek a
26    postponement of the repossession. Additionally, if Wells Fargo takes you to court to
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1     repossess your motor vehicle, the court may take steps to ensure that a judgment is not
2     entered against you if you are unable to appear.
3     Before waiving these important statutory rights, you should consult an attorney 

4     regarding how best to exercise your rights or whether it is in your interest to waive 

5     these rights under the conditions offered by Wells Fargo.
	
6     For More Information: 

7        •		   CONSULT AN ATTORNEY: To fully understand your rights under the law,
8              and before waiving your rights, you should consult an attorney.
9        •		   JAG / LEGAL ASSISTANCE: Servicemembers and their dependents with
10             questions about the SCRA should contact their unit’s Judge Advocate, or their
11             installation’s Legal Assistance Officer. A military legal assistance office
12             locator for all branches of the Armed Forces is available at
13             http://legalassistance.law.af.mil/content/locator.php.
14       •		   MILITARY ONESOURCE: “Military OneSource” is the U.S. Department of
15             Defense’s information resource. Go to http://www.militaryonesource.com.
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1                                           EXHIBIT B-1 

2                                         DECLARATION 

3           I, [INSERT NAME], do hereby declare and state as follows:
4           1. I owned a vehicle obtained through a loan with Wells Fargo, Loan Number
5               [LOAN NUMBER] that was repossessed.
6           2. I obtained the loan on or about [LOAN FUNDING DATE].
7           3. On or about [REPOSSESSION DATE], I WAS either:
8                 i.		 on a covered period of military service; OR
9                ii.		 a member of a reserve component (Reserves or National Guard) and had
10                    received orders to report for a covered period of military service.
11          4. Please consider the following additional information in support of this
12              Declaration:
13              _______________________________________________________________
14              _______________________________________________________________
15              _______________________________________________________________
16              _______________________________________________________________
17              _______________________________________________________________
18    I confirm that the foregoing is true and correct.
19          Executed this ______ day of ______________________, 20__.
20                                     SIGNATURE: ___________________________
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22                                     PRINT NAME: __________________________
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1                      APPENDIX REGARDING MILITARY SERVICE
2           As used in this Declaration, a “covered period of military service” is any of the
3     following:
4           a) Full-time active duty with the armed forces of the United States (Army, Navy,
5              Air Force, Marine Corps, or Coast Guard);
6           b) A period of active service with the National Guard: i) authorized by the
7              President or the Secretary of Defense; ii) longer than thirty (30) consecutive
8              days; iii) under orders issued under Section 502(f) of Title 32 of the United
9              States Code; and iv) for the purpose of responding to a national emergency
10             declared by the President and supported by federal funds;
11          c) Active service as a commissioned officer of the Public Health Service or the
12             National Oceanic and Atmospheric Administration; or
13          d) A period of time during which I was a servicemember absent from duty on
14             account of sickness, wounds, leave, or other lawful cause.
15          If you have any additional questions about whether your service constitutes a
16    “covered period of military service” for purposes of this declaration, please contact the
17    Department of Justice at 202-514-4713 and reference the Wells Fargo SCRA motor
18    vehicle case.
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1                                            EXHIBIT B-2 

2                 SETTLEMENT AND GENERAL RELEASE AGREEMENT 

3           In consideration for Wells Fargo Bank, N.A., d/b/a Wells Fargo Dealer Services’
4     payment to me of $[AMOUNT], I, [BORROWER’S NAME], hereby release and forever
5     discharge all claims, arising prior to the date of this Agreement, related to alleged
6     violations of Section 3952(a) of the Servicemembers Civil Relief Act in the repossession
7     and sale of a [VEHICLE; VIN_______________] that I may have against Wells Fargo
8     and all related entities, parents, predecessors, successors, subsidiaries, and affiliates and
9     all of its past and present directors, officers, agents, managers, supervisors, shareholders,
10    and employees and its heirs, executors, administrators, successors or assigns.
11          The parties represent and warrant to each other, that the parties specifically
12    understand and agree that the parties’ settlement and compromise claims and disputes
13    regarding the retail installment contract and the vehicle is a compromise of disputed
14    claims and that the existence of this Agreement or any payment made hereunder shall
15    not be construed as an admission of liability of the allegations, claims or contentions of
16    any party, and that there are no covenants, promises, undertakings or understanding
17    between the parties outside of this Agreement except as specifically set forth herein.
18          Executed this ______ day of ______________________, 20___.
19    SIGNATURE: ___________________________
20    PRINT NAME: __________________________
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